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  1
      RON BENDER (SBN 143364)
  2   MONICA Y. KIM (SBN 180139)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
  3
      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
  4   10250 Constellation Boulevard, Suite 1700
      Los Angeles, California 90067
  5   Telephone: (310) 229-1234; Facsimile: (310) 229-1244
      Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
  6   Attorneys for Chapter 11 Debtors and Debtors in Possession
  7
      SAMUEL R. MAIZEL (SBN 189301)
  8   TANIA M. MOYRON (SBN 235736)
      DENTONS US LLP
  9   601 South Figueroa Street, Suite 2500
      Los Angeles, California 90017-5704
 10   Telephone: (213) 623-9300; Facsimile: (213) 623-9924
      Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
 11   Attorneys for Official Committee of Equity Security Holders
                               UNITED STATES BANKRUPTCY COURT
 12                             CENTRAL DISTRICT OF CALIFORNIA
                                 SAN FERNANDO VALLEY DIVISION
 13
      In re:                                                       Lead Case No.: 1:17-bk-12408-MB
 14                                                                Jointly administered with:
                                                                   1:17-bk-12409-MB Chapter 11 Cases
 15   ICPW Liquidation Corporation, a California
      corporation,1
                                                                   NOTICE OF HEARING ON MOTION
 16                                                                AND MOTION FOR ENTRY OF
                  Debtor and Debtor in Possession.                 ORDER: (1) CONFIRMING THAT NO
 17                                                                SEPARATE DISCLOSURE
      In re:                                                       STATEMENT IS REQUIRED, OR,
 18                                                                ALTERNATIVELY, AUTHORIZING
      ICPW Liquidation Corporation, a Nevada                       MOVANTS TO CONVERT PLAN INTO
 19                                                                COMBINED PLAN AND DISCLOSURE
      corporation,2
                                                                   STATEMENT AND SETTING
 20                                                                COMBINED HEARING;
                  Debtor and Debtor in Possession.
                                                                   (2) CONFIRMING THAT NO VOTING
 21                                                                IS REQUIRED ON JOINT PLAN OF
           Affects:                                                LIQUIDATION DATED DECEMBER __,
 22                                                                2017; AND (3) SETTING
             Both Debtors                                          CONFIRMATION HEARING DATE
 23
          ICPW Liquidation Corporation, a California
 24   corporation                                    Hearing:
                                                     DATE:    January 5, 2018
 25       ICPW Liquidation Corporation, a Nevada     TIME:    10:00 a.m.
      corporation.                                   PLACE:   Courtroom “303”
 26                                                            21041 Burbank Blvd.
                                                               Woodland Hills, CA 91367
 27
 28   1
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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  1            PLEASE TAKE NOTICE THAT ICPW Liquidation Corporation, a California
  2   corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation
  3   (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
  4   as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
  5   collectively with ICPW California, the “Debtors”) and the Official Committee of Equity Security
  6   Holders (the “Equity Committee”) seek the entry of an order confirming that a disclosure
  7   statement is not required under 11 U.S.C. § 1125 (the “Motion”), or alternatively, the entry of an
  8   order authorizing the Movants to convert the Plan (defined below) into a combined Plan and
  9   Disclosure Statement, and treating the Plan confirmation hearing presently scheduled on February
 10   12, 2018, as a combined Disclosure Statement and Plan confirmation hearing.3 Pursuant to the
 11   Motion, the Movants respectfully submit that a disclosure statement is not required because all
 12   creditors and interest holders are not impaired by the Debtors’ And Official Committee Of Equity
 13   Security Holders’ Joint Plan Of Liquidation Dated December __, 2017 (the “Draft Plan”).4 Thus,
 14   there is no need to solicit votes or file a disclosure statement because all creditors are
 15   “conclusively presumed” by the Bankruptcy Code to support the Plan pursuant to
 16   11 U.S.C. § 1126(f).
 17            PLEASE TAKE FURTHER NOTICE that any party in interest seeking a copy of the
 18   Draft Plan or further information regarding this Motion may obtain a copy of the Draft Plan or
 19   information regarding this Motion by contacting counsel to the Debtors, Levene, Neale, Bender,
 20   Yoo & Brill L.L.P., Attn: Krikor J. Meshefejian, Esq., 10250 Constellation Blvd., Suite 1700, Los
 21   Angeles, CA 90067, Tel: (310) 229-1234; Fax: (310) 229-1244; Email: KJM@LNBYB.COM.
 22

 23
      3
        At the status conference held on December 12, 2017, the Movants and the Court discussed some of the issues
 24   addressed by this Motion. At that time, the Court and the Movants engaged in a colloquy that involved combining
      the Plan and a disclosure statement, and combining the Plan and disclosure statement hearings into a single hearing.
 25   However, the Movants have continued to consider and research these matters and believe that 11 U.S.C. § 1125 does
      not require the Movants to file a disclosure statement under the circumstances of these cases. Thus, the Motion
 26   respectfully seeks, in the first and primary instance, a waiver of the requirement to file and obtain Court approval of a
      disclosure statement.
 27   4
        The “Draft Plan” referenced herein refers to the draft Plan that was filed with the Court on December 12, 2017, as
      Exhibit “A” to Docket Number 334. The Movants will file with the Court prior to the hearing on this Motion a
 28   revised version of the Plan that will no longer be a draft and will, at a minimum, have all of the blanks filled in. The
      references herein to the “Plan” mean the final version of the Plan as filed before the hearing on January 5, 2018.


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  1                           MEMORANDUM OF POINTS AND AUTHORITIES
  2                                                             I.
  3                                                 INTRODUCTION
  4            By this Motion, the above-referenced Debtors (the “Debtors”) and the Official Committee
  5   of Equity Security Holders (the “Equity Committee,” and together with the Debtors, the
  6   “Movants”) seek the entry of an order confirming that there is no requirement that the Movants
  7   file a disclosure statement in accordance with 11 U.S.C. § 1125. Specifically, the Movants
  8   respectfully submit that a disclosure statement is not required because all creditors and interest
  9   holders are not impaired by the Debtors’ And Official Committee Of Equity Security Holders’
 10   Joint Plan Of Liquidation Dated December __, 2017 (the “Draft Plan”).5 Thus, there is no need
 11   to solicit votes or file a disclosure statement because all holders of claims and interests are
 12   “conclusively presumed” by the Bankruptcy Code to support the Plan. 11 U.S.C. § 1126(f).
 13            Additionally, even though the Movants are not required to file a disclosure statement, the
 14   Movants submit that the Plan will contain “adequate information” for a hypothetical investor
 15   typical of the holders of claims or interests to make an informed judgment about the Plan. The
 16   Plan provides the best possible result for all interested parties because it proposes to pay all
 17   allowed claims in full and leave interest holders unimpaired. Even without the “adequate
 18   information” in the Plan, however, the Movants submit that a disclosure statement is not required
 19   under these circumstances, and, thus requests that the Court excuse the Movants from filing and
 20   seeking approval of a disclosure statement under 11 U.S.C. § 1125.
 21            Finally, because the Movants could confirm the Plan through the “cramdown” procedures
 22   in the Bankruptcy Code even if every shareholder voted against the Plan, compelling the Movants
 23   to incur the cost and suffer the delay incident to the service of a disclosure statement, conducting
 24   a vote and then moving for confirmation, regardless of the outcome of the vote, elevates form
 25   over substance. To the extent the Court is not willing to excuse the Movants from filing a
 26

 27   5
        The “Plan” referenced herein refers to the draft Plan that was filed with the Court on December 12, 2017, as Exhibit
      “A” to Docket Number 334. The Movants will file with the Court prior to the hearing on this Motion a revised
 28   version of the Plan that will no longer be a draft and will, at a minimum, have all of the blanks filled in. The
      references herein to the “Plan” mean the final version of the Plan as filed before the hearing on January 5, 2018.


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  1   disclosure statement, the Movants request that, alternatively, the Court to authorize the Movants
  2   to convert the Plan into a combined Plan and Disclosure Statement, and treat the Plan
  3   confirmation hearing presently scheduled on February 12, 2018, as a combined Disclosure
  4   Statement and Plan confirmation hearing.
  5                                                   II.
  6                                   JURISDICTION AND VENUE
  7          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334. This is
  8   a core proceeding pursuant to 28 U.S.C. §157(b)(2). The venue of the Debtors’ two chapter 11
  9   cases (the “Cases”) is proper pursuant to 28 U.S.C. §§1408 and 1409.
 10                                                  III.
 11                                           BACKGROUND
 12   A.     General Background.
 13          1.      On September 8, 2017, the Debtors each filed a voluntary petition under chapter
 14   11 of the Bankruptcy Code (the “Petition Date”). Since the Petition Date, the Debtors have
 15   operated their business and managed their affairs as debtors in possession pursuant to Sections
 16   1107 and 1108 of the Bankruptcy Code. With the Court’s approval, the Cases are being jointly
 17   administered. Other than owning all of the shares in the California entity, the Nevada entity had
 18   no business. All operations of the Debtors effectively functioned through the California entity.
 19          2.      On September 11, 2017, the Debtors filed their Ex Parte Motion For Entry Of An
 20   Order For Joint Administration Of Cases. Docket No. 5.
 21          3.      On September 12, 2017, the Court entered an Order Approving Joint
 22   Administration of Cases Authorizing Joint Administration Pursuant to 11 U.S.C. § 105(a) and
 23   Federal Rule of Bankruptcy Procedure 1015(b). Docket No. 25.
 24          4.      On September 20, 2017, the Office of the United States Trustee filed its Notice of
 25   Appointment of Official Committee of Equity Holders (the “Notice of Appointment”). Docket No.
 26   59. The Notice of Appointment provides for the appointment of the Equity Committee in ICPW
 27   Nevada.
 28          5.      On September 22, 2017, the Office of the United States Trustee filed its Notice of


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  1   Appointment of Creditors’ Committee. Docket No. 62.
  2   B.     Relevant Facts.
  3          6.     The Debtors filed the Cases to consummate a sale of substantially all of their
  4   assets (excluding cash, causes of action and certain property) for the most money possible. Just
  5   prior to their chapter 11 bankruptcy filings, the Debtors entered into an asset purchase agreement
  6   (the “Radians APA”) with the Debtors’ then pre-petition secured creditor, Radians Wareham
  7   Holdings, Inc. (“Radians”), for a cash purchase price of between $15 and $20 million, subject to
  8   an overbid process.
  9          7.     To allow the Debtors to operate pending an auction of the assets, the Debtors
 10   entered into a financing agreement with Radians, to provide debtor in possession financing. On
 11   October 6, 2017, as Docket Number 87, the Court entered the Final Order: (I) Authorizing The
 12   Debtors To (A) Obtain Postpetition Financing Pursuant To 11 U.S.C. §§ 105, 361, 362 And 364,
 13   And (B) Utilize Cash Collateral Pursuant To 11 U.S.C. §§ 361, 362, 363 And 364; (II) Granting
 14   Adequate Protection Pursuant To 11 U.S.C. §§ 361, 362, 363 And 364; And (III) Granting
 15   Related Relief (the “Final DIP Order”).     Radians provided the Debtors with approximately
 16   $1.1 million pursuant to the Final DIP Order.
 17          8.     Pursuant to the Bidding Procedures Order [Docket No. 71], the Auction was held
 18   before the Court on October 30, 2017. Approximately 20 prospective overbidders signed NDA’s
 19   and accessed the data room prior to the auction, and two prospective overbidders satisfied all
 20   requirements to bid at the auction: Brighton-Best International, Inc. (“BBI”) and Protective
 21   Industrial Products, Inc. (“PIP”). After very robust bidding by BBI and PIP (Radians never
 22   submitted any overbid beyond its initial $20 million opening bid), BBI was determined to be the
 23   winning bidder at the Auction with a purchase price of $25,250,000, and PIP consented to be a
 24   backup bidder with a backup purchase of $25,000,000.              The sale to BBI closed on
 25   November 14, 2017.     In connection with the sale closing, after taking into account various
 26   deposits and pro rations, BBI wire transferred a closing payment of $25,328,919, which is in
 27   addition to the $1,000,000 deposit that BBI had provided to the Debtors in advance of the
 28   Auction (the “BBI Deposit”) and is inclusive of the $820,000 “Supplemental Payment” which,


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  1   pursuant to the Sale Order, is to be maintained by the Escrow Agent in segregated trust account
  2   separate from the balance of the sale proceeds pending further order of the Court.
  3   C.     Joint Plan of Liquidation.
  4          9.         On December 12, 2017, the Movants filed the Notice Of Filing Of Initial Draft Of
  5   Debtors And Official Committee Of Equity Security Holders Joint Plan Of Liquidation Dated
  6   December __, 2017 (the “Notice”). Docket No. 334. The Notice attached the Draft Plan as
  7   Exhibit “A.” The Notice also attached the initial draft of the Trust Agreement as Exhibit “2” to
  8   the Draft Plan.
  9          10.        The Draft Plan classifies general unsecured claims which are not entitled to
 10   priority under 11 U.S.C. § 507(a) into Class 1. Generally, as to Class 1 Claims, the Draft Plan
 11   provides in relevant part:
 12                     Any allowed pre-petition claims (the “Allowed Claims”) in these
                        bankruptcy estates (the “Estates”) that are not paid prior to Plan
 13                     confirmation will be paid in full on the Effective Date and are
                        therefore deemed not impaired and are not required to vote on this
 14                     Plan because they are conclusively presumed to have accepted this
                        Plan, and solicitation of acceptances to this Plan from such claim
 15                     holders is not required, pursuant to § 1126(f) of the Bankruptcy
                        Code.
 16
      See Plan, at 3. The Draft Plan specifically provides for the payment of all Allowed Claims6 in
 17
      full, together with post-petition interest at the applicable interest rate from the Petition Date
 18
      through the date that they were paid7 or will be paid the full amount of their Allowed Claim 1
 19
      Claims. See Draft Plan, Section IV, ¶ C (3), at 34-38. See also Section IV, ¶ C (3), at 34-41.
 20
             11.        The Draft Plan classifies the interest of the shareholders of ICPW Nevada into
 21
      Class 2. Generally, as to Class 2, the Draft Plan provides in relevant part:
 22
                        After all allowed post-bankruptcy claims have been paid in full,
 23                     including the final fees and expenses of all professionals employed
                        in the Cases, the balance of the funds in the Estates will be
 24                     transferred to the Trust (as set forth below) and ultimately
                        distributed, as described below, to the record Shareholders of ICPW
 25

 26   6
       Capitalized terms not defined herein shall have the meaning ascribed to them in the Draft Plan.
 27
      7
       Pursuant to the Court’s Order granting Debtors’ Motion For Authority To Pay Undisputed Pre-
      Petition Claims Of Solvent Estate And Establishing Protocol, certain unsecured claims will be
 28   paid in full, together with post-petition interest at the applicable interest rate from the Petition
      Date through the date that they were paid, prior to the Effective Date. Docket No. 345.


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  1                  Nevada (determined at the end of the date of the Plan Confirmation
                     Hearing – the “Record Date”)
  2
                     Shareholders are not impaired under this Plan and therefore don’t
  3                  vote on this Plan because they are conclusively presumed to have
                     accepted this Plan, and solicitation of acceptances to this Plan from
  4                  the Shareholders is not required, pursuant to § 1126(f) of the
                     Bankruptcy Code.
  5
      See Draft Plan, Section IV, ¶ C (4), at 34-38. See also Section IV, ¶ C (3), at 38-
  6
      41.
  7
             12.     The Plan and the Trust Agreement create a trust (the “Trust”) for the sole benefit
  8
      of the shareholders of ICPW Nevada. See Draft Plan, at 3 & 50; see also Trust Agreement, at 3.
  9
             13.     The Trust is being established for the purpose of collecting, distributing and
 10
      liquidating all of the funds and property assigned to the Trust and pursuing claims and causes of
 11
      action assigned to the Trust under the Plan (the “Trust Corpus”) for the benefit of the
 12
      shareholders. See Trust Agreement, at 1.
 13
             14.     The shareholders are the “Trust Beneficiaries” of the Trust and are entitled to their
 14
      applicable share of the Trust Corpus (the “Beneficial Interest”). See Trust Agreement, at 2-3.
 15
             15.     Each of the Trust Beneficiaries shall be recorded and set forth in a certain schedule
 16
      maintained by the Trustee expressly for such purpose based upon the record holders of stock of
 17
      ICPW Nevada as of the end of the day on the date of the hearing on confirmation of the Plan. See
 18
      Trust Agreement, at 12.
 19
             16.     Each Trust Beneficiary shall own a beneficial interest in the Trust equal in
 20
      proportion to such Trust Beneficiary’s pro rata share of the stock of ICPW Nevada owned by
 21
      such Trust Beneficiary. Id.
 22
             17.     Pursuant to the Plan and the Trust Agreement, Trustee shall have the power and
 23
      authority to, among other things, make distributions to the shareholders who are the Trust
 24
      Beneficiaries as set forth above. See Draft Plan, at 3; see also Trust Agreement, at 6-7. The
 25
      Trustee shall also be responsible for implementation of the Plan, including with respect to the
 26
      management, control and operation of the Liquidating Debtor. See Draft Plan, at 52.
 27
 28


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  1                                                     III.
  2                                                  ARGUMENT
  3   A.     THE      MOVANTS         ARE      NOT     REQUIRED       TO     FILE    A    DISCLOSURE
  4          STATEMENT UNDER THE CIRCUMSTANCES OF THE CASES.
  5          To protect parties who are entitled to vote to accept or reject a proposed plan of
  6   reorganization, the Bankruptcy Code requires that a plan proponent transmit a disclosure
  7   statement to enable a hypothetical reasonable investor, typical of the holders of claims or interests
  8   of the relevant voting class, to make an informed judgment about the plan. See 11 U.S.C. § 1125;
  9   Collier on Bankruptcy, ¶ 1125.LH, at 7-1125 (16th ed. 2013). “[T]he purpose of a disclosure
 10   statement is to inform equity holders, as fully as possible, about the probable financial results of
 11   acceptance or rejection of a particular plan.” In re Stanley Hotel, Inc., 13 B.R. 926, 929 (Bankr.
 12   D. Colo. 1981). Section 1125(b) of the Bankruptcy Code merely prohibits the solicitation of
 13   “acceptance or rejection of a plan”, i.e., voting, without a Court-approved disclosure statement.
 14   See In re Colony Properties Intern., LLC, 2011 WL 4443319, at *2 (Bankr. S.D. Cal.,
 15   Sept. 19, 2011) (“Finally, Mr. Marsch, and others, objected to confirmation on the ground that the
 16   joint plan was proposed without a disclosure statement. Though rare, such a procedure is not
 17   unheard of. See e.g., In re Union County Wholesale Tobacco & Candy Co., 8 B.R. 442
 18   (Bankr.D.N.J.1981). The purpose of a disclosure statement is to give parties in interest, whose
 19   votes are being solicited, adequate information about the plan. See Bankruptcy Code
 20   § 1125(a) & (b). In the case at hand, however, no votes were solicited. Under the terms of the
 21   joint plan, finalized as the Second Amended Plan, general unsecured creditors will be paid in full
 22   and are unimpaired, and thus are presumed to have accepted the plan. Conversely, the equity
 23   holders will receive nothing, and are deemed to have rejected. Finally, KBR is impaired, but as
 24   plan proponent accepts the plan. Accordingly, the Court finds that the lack of disclosure statement
 25   in this case is not a bar to confirmation.”)
 26          However, in cases where holders of claims or interests are not impaired under a plan, they
 27   are “conclusively presumed” to have accepted the plan and the plan proponent is not required to
 28   file a disclosure statement or solicit their votes. See 11 U.S.C. § 1126(f); In re Sagamore


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  1   Partners, LTD, 2012 WL 2856104 (Bankr. S.D. Fla. July 10, 2012) (only impaired classes may
  2   vote on a proposed plan); In re Amster Yard Associates, 214 B.R. 122, 124 n.5 (Bankr. S.D.N.Y.
  3   1997) (“If all classes are unimpaired and no solicitation is required, the court does not have to
  4   approve a disclosure statement prior to confirmation, if ever.”); In re Highway Truck Drivers &
  5   Helpers, Teamsters Local No. 107, 100 B.R. 209, 213 (Bankr. E.D. Pa. 1989) (“[I]f all creditors
  6   were unimpaired by its plan of reorganization, there would be no need for voting and no need for
  7   a disclosure statement as all creditors presumptively would vote in favor of the plan.”); In re
  8   Shaffer Furniture Co., 68 B.R. 827, 831 (Bankr. E.D. Pa. 1987), abrogated on other grounds by
  9   In re Chiapetta, 159 B.R. 152 (Bankr. E.D. Pa. 1993) (“[S]ince no classes of claimants are
 10   impaired by the Debtor’s Plan, no disclosure statement is required.”); In re Bel Air Associates,
 11   Ltd., 4 B.R. 168, 175 (Bankr. W.D. Okla. 1980) (“[Section 1125] seems only to require disclosure
 12   statements in the event there are solicitations of acceptances or rejections of the plan.”).
 13           The idea that a disclosure statement might be required even if there are no impaired
 14   classes and, therefore, no creditor or interest holder is entitled to vote, is contrary to the language
 15   of the Bankruptcy Code. Section 1125(b) only requires a disclosure statement if the plan
 16   proponent is soliciting “acceptance or rejection of a plan.” The words “acceptance or rejection”
 17   mean asking for a vote. In re Heritage Org., L.L.C., 376 B.R. 783, 791–92 (Bankr. N.D. Tex.
 18   2007) (defining “solicitation” narrowly as an official vote); In re Kellogg Square P’ship,
 19   160 B.R. 336, 340 (Bankr. D. Minn. 1993) (describing “the concept of ‘solicitation’ as coeval
 20   with the formal polling process”). The words “acceptance and rejection” are not the equivalent to
 21   “objection” with a “right to notice and an opportunity to be heard.” Congress could have used
 22   those terms and concepts in section 1125(b) if that is what “acceptance or rejection” was intended
 23   to mean. Ratzlaf v. United States, 510 U.S. 135, 143, 114 S. Ct. 655, 660, 126 L. Ed. 2d 615
 24   (1994) (“A term appearing in several places in a statutory text is generally read the same way
 25   each time it appears.”). Congress certainly used those terms elsewhere in the Bankruptcy Code.
 26   See 11 U.S.C. §§ 102 and 1128. Thus, if there is no voting, there is no request for “acceptance or
 27   rejection of the plan.” The plan will be served, along with the motion in support of confirmation
 28   brief, and that allows creditors, shareholders and other parties in interest to object, but it is not the


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  1   same as “soliciting acceptance or rejection” which, again, means voting. To argue that the a
  2   disclosure statement is required in all cases, without regard to whether the plan proponent is
  3   seeking acceptance or rejection of the plan, is to render the words “acceptance or rejection of a
  4   plan may not be solicited” in section 1125(b) a nullity, because you are effectively requiring a
  5   disclosure statement in all cases -- which is not the statute Congress wrote. King v. Burwell,
  6   135 S. Ct. 2480, 2498, 192 L. Ed. 2d 483 (2015) (“[I]t is well to remember the difference between
  7   giving a term a meaning that duplicates another part of the law, and giving a term no meaning at
  8   all. . . . So while the rule against treating a term as a redundancy is far from categorical, the rule
  9   against treating it as a nullity is as close to absolute as interpretive principles get.) (citing
 10   Inhabitants of Montclair Tp. v. Ramsdell, 107 U.S. 147, 152, 2 S. Ct. 391, 395, 27 L. Ed. 431
 11   (1883) (“It is the duty of the court to give effect, if possible, to every clause and word of a statute,
 12   avoiding, if it may be, any construction which implies that the legislature was ignorant of the
 13   meaning of the language it employed.”); Marbury v. Madison, 1 Cranch 137, 174, 2 L.Ed. 60
 14   (1803) (Lawmakers do not, however, tend to use terms that “have no operation at all.”)).
 15          Here, the Movants are not required to solicit votes on the Plan or distribute a disclosure
 16   statement because both holders of claims and interests are not impaired under the Plan. As to
 17   claims, the Plan proposes to pay all allowed claims in full, plus post-petition interest, and, thus,
 18   the holders of claims are not impaired. Because holders of claims are not impaired under the Plan,
 19   they are deemed to have accepted the Plan pursuant to § 1126(f). As a result, the Movants are not
 20   required to solicit their votes on the Plan or distribute a disclosure statement.
 21          As to shareholders, the Plan leaves the shareholders’ substantive legal, equitable, and
 22   contractual rights unimpaired and unaltered. See 11 U.S.C. § 1124. Specifically, under the Plan,
 23   after creditors and all allowed post-bankruptcy claims have been paid in full, all cash and any
 24   other assets in the Estates will be transferred to the Trust and ultimately distributed to the record
 25   Shareholders of ICPW Nevada. Moreover, Shareholders will receive a beneficial interest in the
 26   Trust that is equivalent to their ownership in the stock. Specifically, the Trust Agreement
 27   provides that each Trust Beneficiary shall own a beneficial interest in the Trust equal in
 28   proportion to such Trust Beneficiary’s pro rata share of the stock of ICPW Nevada owned by


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  1   such Trust Beneficiary. Thus, Shareholders are retaining their interest and receiving 100 percent
  2   of the value of the enterprises in cash.
  3           Additionally, the fact that there will be no operations post-confirmation does not alter the
  4   shareholders “legal, equitable [or] contractual rights,” under 11 U.S.C. § 1124(1), as equity
  5   holders. Similar to In re Nickels Midway Pier, LLC, 452 B.R. 156, 164 (D.N.J. 2011), although
  6   there may be no ongoing business, there is a trust that will make distributions to shareholders.
  7   Since the business is not operating, the Shareholders only have the right to the cash, which is
  8   what they are receiving under the Plan and the Trust Agreement.
  9           The Ninth Circuit Court of Appeals addressed the rights of shareholders in the plan
 10   confirmation context in In re Acequia, Inc., 787 F.2d 1352, 1363 (9th Cir. 1986), wherein the
 11   proposed plan modified the Debtor’s articles and by-laws which permitted shareholders to vote
 12   for directors. The Ninth Circuit held that the plan impaired the interest of equity holders because
 13   it deprived them of their ability to act in their capacities as shareholders to alter the management
 14   of the Debtor. Thus, notwithstanding the equality of treatment of the equity security interests in
 15   the plan, the Ninth Circuit concluded that the plan significantly altered each shareholder’s power
 16   to exercise his or her shareholder vote. Unlike in In re Acequia, Inc., the Shareholders are not
 17   “deprived of their ability to act in their capacities as shareholders” based on any provision in the
 18   Plan.
 19           Additionally, even if the class 2 Shareholders were impaired by the Plan and were entitled
 20   to vote on the Plan, and, as a class, did not vote to accept the Plan (despite the fact that the
 21   interests of the class 2 Shareholders are represented by the OCEH; the OCEH is a co-proponent
 22   of this Plan; and the OCEH would recommend that all class 2 Shareholders vote to accept the
 23   Plan), the Plan would nevertheless be confirmable by “cramdown” because the conditions of
 24   § 1129(b)(2)(C)(ii) will have been satisfied in that no holder of any interest that junior to the
 25   interests of the class 2 Shareholders will receive or retain any property under the Plan on account
 26   of any such junior interest. In fact, there are no interests that are junior to the interests of the class
 27   2 Shareholders. Thus, even if there was a 100 percent vote rejecting the Plan by the Shareholders,
 28   the Debtor would be able to confirm the Plan under the cramdown provisions.


                                                         12
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  1          Notwithstanding the analysis above that a disclosure statement is not required in the
  2   Cases, if the Court disagrees, the Movants respectfully request Court to set a combined Plan
  3   confirmation and disclosure statement hearing for February 12, 2018, at 1:30 p.m. Either way, the
  4   Movants intend to file a comprehensive Plan confirmation motion for the hearing on
  5   February 12, 2018, in which the Movants will provide a concise summary of the terms of the
  6   Plan, and serve that motion on all creditors and Shareholders.
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Case 1:17-bk-12408-MB                Doc 347 Filed 12/15/17 Entered 12/15/17 14:25:05                                       Desc
                                      Main Document    Page 15 of 52
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF HEARING ON MOTION AND
      MOTION FOR ENTRY OF ORDER: (1) CONFIRMING THAT NO SEPARATE DISCLOSURE
  4   STATEMENT IS REQUIRED, OR, ALTERNATIVELY, AUTHORIZING MOVANTS TO CONVERT PLAN
      INTO COMBINED PLAN AND DISCLOSURE STATEMENT AND SETTING COMBINED HEARING; (2)
  5   CONFIRMING THAT NO VOTING IS REQUIRED ON JOINT PLAN OF LIQUIDATION DATED
      DECEMBER __, 2017; AND (3) SETTING CONFIRMATION HEARING DATE will be served or was
  6   served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
      manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On December 15, 2017, I checked the CM/ECF docket for this bankruptcy
  9   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
 10
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 11            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 12            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 13            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 14            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 15             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 16             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 17            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 18            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 19            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 20   2. SERVED BY UNITED STATES MAIL: On December 15, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 21   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 22   completed no later than 24 hours after the document is filed.
 23
                                                                              Service information continued on attached page
 24
 25   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 26   on December 15, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 27   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 347 Filed 12/15/17 Entered 12/15/17 14:25:05                                       Desc
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       December 15, 2017                     Stephanie Reichert                          /s/ Stephanie Reichert
  6    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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                                                12 West 37th Street, 9th Floor 17 of 52  100 Union Avenue
Case 1:17-bk-12408-MB                           New York, NY 10018-7381                        Cresskill, NJ 07626-2141
Central District of California
San Fernando Valley
Fri Dec 15 13:02:11 PST 2017
Dentons US LLP                                  ICPW Liquidation Corporation, a California c   Office of Unemployment Compensation Tax Serv
Successor by merger to McKenna Long etc         15260 Ventura Blvd.                            Department of Labor and Industry
2030 Main Street #1000                          20th Floor                                     Commonwealth of Pennsylvania
Irvine, CA 92614-7239                           Sherman Oaks, CA 91403-5303                    651 Boas Street, Room 702
                                                                                               Harrisburg, PA 17121-0751

Official Committee of Equity Security Holder    Texas Comptroller of Public Accounts           San Fernando Valley Division
DENTONS US LLP                                  John Stern                                     21041 Burbank Blvd,
601 S. Figueroa Street                          c/o Megan Becker, Paralegal                    Woodland Hills, CA 91367-6606
25th Floor                                      P.O. Box 12548
Los Angeles, CA 90017-5704                      Austin, TX 78711-2548

1920 Hutton Court Inwood National Bank          ALL IN THE BEHL FAMILY RLLP                    AMERICAN ALTERNATIVE INSURANCE CORPORATION
P O Box 857                                     37271 S STONEY CLIFF DR                        1475 E WOODFIELD RD SUITE 500
Richardson, TX 75085                            TUCSON , AZ 85739-1406                         SSCHAUMBURG, IL 60173-4903



AML UNITED LIMITED                              ANNALOUISE JAEGER & KEITH VERWOEST             ANTHONY KEATS
29TH FLOOR, NANYANG PLAZA                       532 PAUMAKUA PL                                15260 VENTURA BLVD
57 HUNG TO ROAD, KWUN TONG                      KAILUS , HI 96734-3157                         20TH FLOOR
KOWLOON, HONG KONG, CHINA                                                                      SHERMAN OAKS , CA 91403-5303


ARTHUR GERRICK                                  Aaron Zhang                                    Abel Unlimted Inc. (Ironwear)
l72 WILD LILAC                                  Room 1202 Building 12 ,Biguiyuan               2020 Seabird Way
IRVINE , CA 92620                               Renming Middle Road NO.527, Qidong             Riviera Beach, FL 33404-5009
                                                County Nantong City, China 226200


Account Temps                                   Accountemps                                    Ace Hardware
P.O. BOX 743295                                 Robert Half/Attn: Karen Lima                   2222 Kensington St.
Los Angeles, CA 90074-3295                      PO Box 5024                                    Oak Brook, IL 60523-2108
                                                San Ramon, CA 94583-5024


Acklands Grainger                               Advantage Media Services Inc                   Advantage Media Services, Inc.
123 Commerce Valley Dr., Suite 700              29010 Commerce Center Drive                    29010 Commerce Center Drive
Thornhill, Ontario, L3T 7W, Canada              Valnecia, CA 91355-4188                        Valencia, CA 91355-4188



Amazon                                          Amster, Rothstein & Ebenstein, LLP             Argo Partners
410 Terry Ave. North                            90 Park Avenue                                 12 West 37th St., 9h Fl.
Seattle, WA 98109-5210                          New York, NY 10016-1463                        New York, NY 10018-7381



Atmos Energy                                    BDO USA, LLP                                   BIC ALLIANCE
Three Lincoln Centre, Suite 1800                P. O. BOX 677973                               P O Box 40166
5430 LBJ Freeway                                Dallas, TX 75267-7973                          Baton Rouge, LA 70835-0166
Dallas, TX 75240-2601
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BIRCH FAMILY TRUST                     Doc
                                        BNSF 347 Filed 12/15/17 Entered 12/15/17       14:25:05
                                                                                BNSF Logistics        Desc Inc.
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                                        75 Remittance Dr. Ste. 1748    18 of 52 1600 Lakeside Parkway #100
SANTA BARBARA, CA 93101-1216            Chicago, IL 60675-1748                         Flower Mound, TX 75028-4012



BRIAN SHEENY                            BROCK GANELES                                  BRUCE G KLASS
11711 DARLINGTON AVE UNIT 7             41 W 72ND ST                                   447 KENSINGTON DR
LOS ANGELES , CA 90049-5521             APT 14A                                        CORDILERA, CO 81632-6271
                                        NEW YORK , NY 10023-3477


Ben Padnos                              Big Time Products, LLC (includes Apollo Perf   Broadridge
PO Box 1993                             2 Wilbanks Road SE                             P.O. Box 416423
Manhattan Beach, CA 90267-1993          Rome, GA 30161-8475                            Boston, MA 02241-6423



Broussard,Ronald Roy                    Bunzl USA Holdings, LLC                        Burkhard,Kerri
3001 Oak Meadow Drive                   Cordova Safety Products, John Tillman Co       4405 Glenbrook Court
Flower Mound, TX 75028-7625             Once City Place Drive                          Mansfield, TX 76063-3500
                                        Suite 200
                                        St. Louis, MO 63141

Business Systems Integrators, LLC       CATHERINE A SEAK                               CEDE & CO (FAST)
P O Box 495                             1643 OAKPOINT DR                               570 WASHINGTON BLVD
Lawson, MO 64062-0495                   WACONIA , MN 55387-4544                        JERSEY CITY , NJ 07310-1617



CHARLES E FRISCO JR                     CHARLES E FRISCO JR                            CHARLES H GIFFEN
12749 Norwalk Blvd . Ste 1OO            8135 FLORENCE AVENUE                           6000 ELBA PLACE
Norwalk , CA 90650-3148                 SUITE 101                                      WOODLAND HILLS , CA 91367-2929
                                        DOWNEY , CA 90240-3900


CHRIS JUETTEN                           CHRISTOPHER M HAZLITT                          CINDY MATTHEWS
2906 NW ENDICOTT ST                     1063 Mapleton Avenue                           6725 WHALEY DR
CAMAS, WA 98607-8243                    Boulder, CO 80304-4150                         BOULDER , CO 80303-4328



CIS Custom Information Services         CLAYTON WYOMING LLC                            Cabela’s
1201 N. Watson Rd., Ste. 110            1364 NORTHPARK DRIVE                           1 Cabela Dr.
Arlington, TX 76006-6122                LAFAYETTE, CO 80026-3441                       Sidney, NE 69160-0001



California Board of Equalization        California Dept of Tax and Fee Administratio   Capital One Bank
Acct. Analysis & Control Sec. MIC 2     PO Box 942879                                  P. O. BOX 1917
PO Box 942879                           Sacramento, CA 94279-0055                      Merrifield, VA 22116-1917
Sacramento, CA 94279-0029


Cestusline, Inc.                        Chang Bang Gloves (Hong Kong) Co., Limited     Charles Giffen
13818 NE Airport Way                    c/o W. Steven Bryant                           6000 Elba Place
Portland, OR 97230-3440                 Locke Lord LLP                                 Woodland Hills, CA 91367-2929
                                        600 Congress Avenue, Suite 2200
                                        Austin, Texas 78701-3055
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Irving, TX 75062-7804                   Chicago, IL 60673-1257                         PO BOX 13528
                                                                                       AUSTIN TX 78711-3528


Custom Information Services             Custom Leathercraft Mfg. LLC                   DANIEL THOMAS GIEBER
1201 N Watson Rd #110                   10240 S. Alameda Street                        PO BOX 7298
Arlington, TX 76006-6122                South Gate, CA 90280-5551                      MENLO PARK, CA 94026-7298



DAVID G HILL                            DAVID J COOK 2163 LIMA LOOP                    DAVID L JACOBS
1712 PEARL ST                           PMB 071156                                     335 LEE HILL DRIVE
BOULDER , CO 80302-5517                 LAREDO, TX 78045-6420                          BOULDER , CO 80302-9492



DENNIS TORRES & AVERI TORRES            DENNIS TORRES & AVERI TORRES TRUST             DESIGN GALLERY PVT. LTD.
6779 LAS OLAS WAY                       6779 LAS OLAS WAY                              PLOT #322/B, MEDICAL ROAD
MALIBU, CA 90265-4137                   MAILBU , CA 90265-4137                         HELAL MARKET, UTTARKHAN
                                                                                       DHAKA-1230, Bangladesh


DESUN GARMENTS, LTD.                    DNOW                                           DNOW L.P. (Skatiq Gloves)
89/1, Birulia Road, Savar, Dhaka        PO Box 40985                                   7402 N. Eldridge Parkway
Dhaka                                   Houston, TX 77240-0985                         Houston, TX 77041-1902
Savar-1340, Bangladesh


DONALD P ELLIOTT                        DRG Strategic, LLC - Bob Goldstein             DTM Sales
9400 E ILIFF AVE #361                   P O BOX 191981                                 391 Gingercake Road
DENVER , CO 80231-3490                  Dallas, TX 75219-8510                          Fayetteville, GA 30214-1037



DXP Enterprises                         David Jacobs                                   Daylight Transport
P.O. Box 1697                           335 Lee Hill Drive                             P O Box 93155
Houston, TX 77251-1697                  Boulder, CO 80302-9492                         Long Beach, CA 90809-3155



Dayup Global Co., Ltd.                  Dival Safety & Supplies                        Do It Best
Phum Prey Sala, Sangkat Kakap           1721 Niagra Street                             6502 Nelson Road
Khan Posenchey, Phnom Penh              Buffalo, NY 14207-3188                         Fort Wayne, IN 46803-1947
855, Cambodia


Duluth Trading                          ED WETHERBEE                                   EDUARD ALBERT JAEGER
PO Box 409170                           7269 SIENA WAY                                 443 CONCORD ST
Belleville, WI 53508                    BOULDER , CO 80301-3724                        EL SEGUNDO , CA 90245-3723



EDWIN BALDRIDGE TTEE UA                 ENSCO INC                                      ERIC JAEGER
6O5 SAN ANTONIA AVE                     6820 Indiana Avenue                            1408 CAMBRIDGE CROSSING
MANY LA , LA 71449                      Riverside, CA 92506-7202                       SOUTHLAKE, TX 76092-7001
ETHAN AISENBERG Case 1:17-bk-12408-MB   Doc
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3900 LEGACY TRAIL CIR                    Main   Document
                                         7 Rand Rd.             Page 20 of 52    Emil Iannaccone Seperate Propert Trust
CARROLLTON, TX 75010-6458                Portland, ME 04102-1433                      11855 Woodley Ave
                                                                                      Granada Hills , CA 91344-2839


Emmett Murphy                            Eshleman,Derek G                             Essendant USSCO
3901 Turtle Creek Blvd.                  3744 Woodshadow Lane                         1 Parkway North Blvd., Suite 100
Dallas, TX 75219-4603                    Addison, TX 75001-7985                       Deerfield, IL 60015-2559



Expeditors                               FAMILY TRUST OF EARL G LUNCEFORD             FedEx
5757 W. Century Blvd. Ste. 200           8850 E FERNAN LAKE RD                        PO Box 7221
Los Angeles, CA 90045-6405               COEUR DALENE, ID 83814-7782                  Pasadena, CA 91109-7321



FedEx Corporate Services Inc             Feld,Abraham Hagen                           Fowler,Michael J
3965 Airways Blvd Module G 3rd Floor     14700 Marsh Ln. Apt. #926                    1722 Ashland Ave.
Memphis TN 38116-5017                    Addison, TX 75001-8061                       Evanston, IL 60201-3546



GEMINI PARTNERS INC                      GLEN K INGALLS & RENEE PACHECO               GREAT PANDA INVESTMENT CO LLLP
10900 WILSHIRE BLVD                      TTEES U/A DTD 4-5-05 THE INGALLS PACHECO     1325 PITKIN AVE
STE 30O                                  747 ROSEMOUNT RD                             SUPERIOR , CO 80027-8131
LOS ANGELES , CA 90024-6536              OAKLAND, CA 94610-2322


GREGORY AKSELRUD                         GT Graphics                                  GT Graphics of Sheboygan LLC
15260 VENTURA BLVD                       826 Michigan Avenue                          826 Michigan Avenue
20TH FL                                  Sheboygan, WI 53081-3438                     Sheboygan, WI 53081-3438
SHERMAN OAKS, CA 91403-5303


Geoff Greulich                           Ginger Collier                               Ginger Hill
3485 Ridgeford Drive                     6524 Deseo Apt. 358                          6524 Deseo Apt. 358
Westlake Village, CA 91361-4819          Irving, TX 75039-3037                        Irving, TX 75039-3037



Glenfir                                  Grainger                                     Greg Akselrud
General French 1948                      100 Grainger Parkway                         C/O Stubbs Alderton & Marki
Montevideo, Uruguay 11500                Lake Forest, IL 60045-5202                   15260 Ventura Blvd 20th Fl.
                                                                                      Sherman Oaks, CA 91403-5303


Guo, Xin                                 HAROLD F SCHAFF                              HAROLD SCHAFF & CHERYL SCHAFF TTEES THE
540 Lake Forest Dr.                      780 GLEN ANNIE RD                            SCHAFF TRUST DTD 1-17-03
Coppell, TX 75019-2882                   GOLETA , CA 93117-1426                       78O GLEN ANNIE RD
                                                                                      GOLETA , CA 93114


HEIDI JAEGER                             HORACE DUNBAR HOSKINS JR &                   Hewlett Packard
26800 PACIFIC COAST HWY                  ANN REID HOSKINS JT TEN                      1501 Page Mill Road
MALIBU, CA 90265-4517                    7 PENENSULA RD                               Palo Alto, CA 94304-1100
                                         BELVEDERE, CA 94920-2325
               CaseCo.,
Huizhou Baijia Glove   1:17-bk-12408-MB
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                                           CENTRALIZED INSOLVENCY OPERATIONS 21 of 52 30 MONTGOMERY STREET
Savar, Dhaka, 1349, Bangladesh             PO BOX 7346                                SUITE 1000
                                           PHILADELPHIA PA 19101-7346                 JERSEY CITY NJ 07302-3865


Impacto Protective Products, Inc.          JAEGER FAMILY LLC                          JAMES R YOUNG
40 Dussek Street                           1408 CAMBRIDGE CROSSING                    2009 RIVERVIEW DR
Belleville, ON K8N 5R8                     SOUTHLAKE , TX 76092-7001                  BERTHOUD , CO 80513-8253
CANADA


JAMES SEIBEL                               JARUS FAMILY TRUST                         JARUS FAMILY TRUST TR SCOTT M JARUS TTEE
1430 N HARPER AVE                          938 DUNCAN AVE                             938 DUCAN AVE
#305                                       MANHATTAN BEACH , CA 90266-6626            MANHATTAN BEACH , CA 90266-6626
W HOLLYWOOD 90046-8412


JARUS FAMILY TRUST U/A DTD 10/19/2007      JEFFREY CORDES                             JEFFREY F GERSH & ARIE J GERSH LIVING TRUST
938 DUNCAN AVE                             GARDERE WYNNE SEWELL, LLP                  DTD 09/26/1991
MANHATTAN BEACH, CA 90266-6626             C/O ALAN J. PERKINS                        5465 ROUND MEADOW RD
                                           2021 MCKINNEY AVE STE 1600                 HIDDEN HILLS , CA 91302-1279
                                           DALLAS TX 75201-4761

JEFFREY ORR                                JOE WORDEN                                 JOHN E ORCUTT & MARCTA ORCUTT
733 2lST ST                                4335 FOX CIRCLE                            JT TEN
MERMOSA BEACH, CA 90254                    MESA , AZ 85205-5104                       3221 N SAN SEBASTIAN DRIVE
                                                                                      TUSCON , AZ 85715-3023


JOHN MCILVERY                              JONATHAN HODES                             JOSEPH D RYAN
C/O STUBBS ALDERTON & MARKILES             C/O STUBBS ALDERTON & MARKILES             1986 CLOVERDALE AVE
15260 VENTURA BLVD 2OTH FL                 15620 VENTURA BLVD 20TH FL                 HIGHLAND PARK , IL 60035-2108
SHERMAN OAKS, CA 91403-5325                SHERMANOAKS, CA 91436-3129


Jaeger,Eric                                Jeff Carlson                               Joanna Waldear-Lucas As Ttee
1408 CAMBRIDGE CROSSING                    4307 W. 44th Street                        Fbo The Joanna Waldear-Lucas Living Trus
Southlake, TX 76092-7001                   Edina, MN 55424-1063                       P .O . Box l0l
                                                                                      Malibu , CA 90265


KA HUNG GLOVE INUSTRIAL CO. LTD.           KATHERINE BERCI DEFEVERE                   KEALA STANFILL
FUJIAN QUANZHOU JIACHENG LEATHER           TRUSTEE DEFEVERE TRUST                     12049 SW ASKER TERR
CHI FENG ROAD, QUANZHOU CITY               24200 ALBERS STREET                        BEAVERTON , OR 97007
FUJIAN, 362000, China                      WOODLAND HILLS, CA 91367-5704


KLEIN PARTNERS LTD                         KNUTE LEE                                  KONRAD GATIEN
4973 CLUBHOUSE CT                          9109 WILSHIRE COURT NE                     15260 VENTURA BLVD
BOULDER , CO 80301-3728                    ALBUQUERQUE, NM 87122-3051                 2OTH FLOOR
                                                                                      SHERKAN OAKS , CA 91403-5325


KYLE EDLUND                                Kevin Debre                                Kim Woodworth & Bill Woodworth
3893 FAIRWAY DR                            C/O Stubbs Alderton & Markiles LLP 15260   1O1 Valley Hill Rd
WOODBURY , MN 55125-5018                   Sherman Oaks, CA 91403                     Exton , PA 19401
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Konica Minolta Business Solutions      Doc   347 Agency
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100 Williams Drive                      Main   Document
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Ramsey, NJ 07446-2907                   Winnipeg, MB 1K3 Canada                      Springfield Gardens, NY 11413-4116



LOUIS WHARTON                           Laubert,Matthew Palmer                       Levene, Neale, Bender, Yoo & Brill LLP
15260 VENTURA BLVD                      3201 Pecan Meadow Drive                      10250 Constellation Blvd Ste. 1700
2OTH FLOOR                              Garland, TX 75040-2856                       Los Angeles, CA 90067-6253
SHERMAN OAKS, CA 91403-5325


Liaison Technologies, Inc.              Liberty Glove, Inc.                          Lien Shun Yang Leather Co., Ltd.
Attn: Christopher Evans                 433 Cheryl Lane                              No.48, Mincheng Street, Daliao Dist
3157 Royal Drive, Suite 200             City of Industry, CA 91789-3023              Kaosiung City 831, Taiwan (R.O.C.)
Alpharetta, GA 30022-2484


MARC S PESTER                           MARK HAWKING                                 MARK W FISCHER
278 DALE RD                             2278 CAMARILLAR DR                           285 IROQUOIS DR
SHORT HILLS , NJ 07078-1513             CAMARILLO, CA 93010-2061                     BOULDER, CO 80303-4215



MARUSAN - MIMASU TSHUSHO CO. LTD.       MATTHEW JUETTEN                              MATTHEW LAUBERT
NO 1 QUEEN’ ROAD CENTRAL                633 HAWKSBILL ISLAND DR                      C/O IRONCLAD PERFORMANCE WEAR CORP
HONG KONG                               SATELL ITE B EA CH , FL 32937-3854           1920 HUTTON COURT #300
CHINA                                                                                FARMERS BRANCH , TX 75234-9004


MCDERMOTT & BULL                        MCR Safety                                   MELISSA DERBY
2 VENTURE SUITE 100                     1255 Schilling Blvd. W                       393 LAUREL AVENUE
IRVINE, CA 92618-7391                   Collierville, TN 38017-7190                  NOVATO , CA 94945-3546



MERCINDO GLOBAL MANUFAKTUR              MERCINDO GLOBAL MANUFAKTUR                   MICHAEL A DIGREGORIO
JL. RAYA SEMARANG-BAWEN KM.29           JL. RAYA SEMARANG-BAWEN KM.29                1420 KINSGBORO COURT
SEemerang, Central Java                 Semerang, Central Java                       WESTLAKE VILLAGE , CA 91362-4340
50661, Indonesia                        50661, Indonesia


MICHAEL B JOHNSON                       MICHAEL CASEY HOCH                           MICHAEL GRANT
7255 RADFORD AVE                        291 BROADWAY                                 222 ROUND HILL RD
N HOLLYWOOD, CA 91605-3713              COSTA MESA , CA 92627-2817                   TIBURON , CA 94920-1520



MICHAEL GROSSMAN                        MIKE SALOMON                                 MURRAY MARKILES
5557 GROEHMANN LN                       1440 E 1st Street Ste . l00                  C/O STUBBS ALDERTON & MARKILES
FREDERICKSBURG , TX 78624-6074          SANTA ANA , CA 92701-6301                    15260 VENTURA BLVD 2OTH FLOOR
                                                                                     SHERKAN OAKS, CA 91403-5325


Magpul Industries Copr.                 Matt Pliskin                                 Matt Pliskin
8226 Bee Cave Road                      2718 W Terrace Drive                         2718 W Terrace Drive
Austin, TX 78746-4909                   Farmers Branch, TX 75234                     Tampa FL 33609-4026
Matthew TrusteesCase 1:17-bk-12408-MB   Doc   347 Filed 12/15/17 Entered 12/15/17
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C/O STUBBS ALDERTON & MARKILES           Main    Document
                                         P.O. Box 29976     Page 23 of 52    5101 Menard Dr.
15260 VENTURA BLVD 20TH FL               New York, NY 10087-9976              Eau Claire, WI 54703-9604
SHERMAN OAKS , CA 91403-5303


Metzler,Stacy Marie                      Michael Anthony Digregorio Trustee   Michael DiGregorio
411 Donnell Drive #A                     The Digregorio Revocable Trust       1420 Kingsboro Court
Arlington, TX 76012-5993                 1420 Kingsboro Ct                    Thousand Oaks, CA 91362-4340
                                         Westlake Village, CA 91362-4340


Morris,Chartrice Holt                    Muhammad Deni Indrajaya              Murski Breeding Sales Co.
7313 Tall Road                           Jl.Cilandak KKO, Gg Abbah 3          9212 Chancellor Row
Alvarado, TX 76009-7192                  RT09 RW05 Ragunan Pasar Minggu       Dallas, TX 75247-5325
                                         Jakarta Selatan, 12550


NANTONG CHANGBANG GLOVES CO.             Nacion,Markham                       Nanang Kuriawan
Flat/RM 1602 Chit Lee Comm               503 Hemphill Drive                   Dsn Jimbaran RT003 RW002
Bldg 30-36, Shau Kei Wan Road            San Marcos, CA 92069-1875            Jimbaran Bandungan
Hong Kong, China                                                              Semarang Jawa Tengah 50651


National Safety Council                  Net Pack                             (p)CITIBANK
P.O. Box 558                             9629 El Poche St                     PO BOX 790034
Itasca, IL 60143-0558                    South El Monte, CA 91733-3030        ST LOUIS MO 63179-0034



Office Depot Acct 31A                    Orgill                               Orr Safety
P.O. Box 88040                           PO Box 140                           11601 Interchange Drive
Chicago, IL 60680-1040                   Memphis, TN 38101-0140               Louisville, KY 40229-2159



PAMELA SULLIVAN                          PATRICK JUETTEN                      PATRICK W O ’BRIEN
1682 HAYES STREET APT C                  11417 HASTINGS ST NE                 30l WHITMORE LANE
EUGENE , OR 97402-3694                   BLAINE, MN 55449-4447                LAKE FOREST, IL 60045



PETER SEAKANS                            POH                                  PT Adira Semesta Industry
1360 WALNUT ST                           12 Brennan Way                       Bihbul Raya 73, Kopo., Bandung
#205                                     Belmont, Western Australia 6104      West Java, 40228, Indonesia
BOULDER , CO 80302-5190


PT JJ GLOVES INDO                        PT SEOK HWA INDONESIA                PT SPORT GLOVE INDONESIA
JL Ronggowarsito, Mlese, Ceper           Room 1218, Krantz Techno Bldg.       Krandon Desa Pandowoharjo
Bonded Zone, Klaten                      5442-1 Sang Dae Won-Dong, Sung Nam   Sleman
Central Java, Indonesia 57463            Kyung Gi-Do, Indonesia 00046-2819    Yogyakarta, Indonesia 55512


PT. Eagle Glove Indonesia                Pacific Stock Transfer Company       Patrick W OBrien
Desa Bayen Purwomatani Kalasan           6725 Via Austi Pkwy                  301 Whitmore Lane
Sleman, Yogyakarta, 55571                Suite 300                            Lake Forrest, IL 60045-4707
Indonesia                                Las Vegas, NV 89119-3553
Perry HVAC     Case 1:17-bk-12408-MB   Doc   347& Associates
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                                                                                       Bowes Credit Corp.
10000 North Central Expressway          Main   Document
                                        193 Sam Brown Hill Road Page 24 of 52   P.O.Box 371887
Suite 400                               Brownfield, ME 04010-4435                     Pittsburg, PA 15250-7887
Dallas, TX 75231-4180


Precision Testing Laboratories          Progroup Incorporated                         Quill Corporation
POB 100268                              P.O. Box 6585                                 P.O. Box 37600
Nashville, TN 37224-0268                Englewood, CO 80155-6585                      Philadelphia, PA 19101-0600



R D Pete Bloomer                        R3 Safety aka Bunzl                           REYHEENA EIDARIUS
7542 Crestview Drive                    P.O. Box 270417                               23436 CAMINITO VALLEY
Longmont, CO 80504-7301                 Saint Louis, MO 63127-0417                    LAGUNA HILLS , CA 92653-1640



RHONDA HOFFARTH                         RICHARD KRONMAN & MAUREEN KRONMAN REVOCABLE   ROBERT C CLARK
462 CALLE DE ARAGON                     TRUST                                         12151 WEST 32ND DR
REDONDO BEACH , CA 90277-6724           30111 HARVESTER RD                            WHEEATRIDGE, CO 80033-5356
                                        MAILBU , CA 90265-3733


ROBERT F CHARLES JR                     ROBERT H KEELEY & SANDRA KEELEY               ROBERT MEOTTLE
2955 PARK LAKE DR                       JT TEN                                        2 /909 SMYTH DR
BOULDER, CO 80301-5138                  17245 ELBERT ROAD                             VALENCIA , CA 91355
                                        PEYTON, CO 80831-9566


RONALD S WEAVER MD                      RPS Solutions                                 RYAN AZLEIN
536 PALISADES AVENUE                    726 Donald Preston Drive                      1137 Calle Elaina
SANTA MONICA , CA 90402-2722            Wolfforth, TX 79382-5402                      Thousand Oaks, CA 91360-2330



Radians Wareham Holding, Inc.           Rebecca D Jarus & Scott M Jarus Ttees         Refrigiwear, Inc.
Attn: Mike Tutor, CEO                   U/A Dtd 10/19/2007                            54 Breakstone Drive
5305 Distriplex Farms                   Jarus Family Family Trust                     Dahlongega, GA 30533-7603
Memphis, TN 38141-8231                  938 Ducan Ave
                                        Manhattan Beach , CA 90266-6626

Republic Services                       Resources Global Professionals                Resources Global Professionals
4200 East 14th Street                   17101 Armstrong Ave                           P O BOX 740909
Plano, TX 75074-7102                    Irvine, CA 92614-5742                         LOS ANGELES, CA 90074-0909



Richard Kronman & Ian                   Ringers, Inc.                                 Risk Consulting Partners
30111 Harvester Rd                      8846 North Sam Houston Parkway West           24722 Network Place
Malibu , CA 90265-3733                  Houston, TX 77064-2305                        Chicago, IL 60673-1247



Robert Steckler                         Ronald Chez                                   Russ MacDonald
3000 Tradewind Drive                    1524 N. Astor Street                          23785 110B Avenue
Spicewood, TX 78669-5135                Chicago, IL 60610-2057                        Maple Ridge, BC V2W 1E6
                                                                                      Canada
Russ McDonald Case 1:17-bk-12408-MB        Doc
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23785 - 110B Avenue                         Main   Document
                                            19687 LOS ALIMOS ST     Page 25 of 52    223 WILMINGTON W CHESTER PIKE
Maple Ridge, B.C. V2W1 E6, Canada           CHATSWORTH, CA 91311-1935                    #115
                                                                                         CHADDS FORD , PA 19317-9007


SEGAL FAMILY TRUST                          SPM CENTER LLC                               SPRING HILL INC
10100 SANTA MONICA BLVD #1300               27909 SMYTH DR                               9629 El Poche St.
LOS ANGELES, CA 90067-4114                  VALENCIA , CA 91355-4034                     South El Monte, CA 91733-3030



SPS Commerce                                STANLEY M RUMBOUGH JR                        STEPHEN GOODHUE
333 South Seventh St. Ste. 1000             44 COCOANUT ROW STE Bl03                     2O3 STAR CARLISLE
Minneapolis, MN 55402-2421                  PALM BEACH, FL 33480-4069                    W AUSTRALIA , 6101
                                                                                         AUSTRAILIA


STEVE FEDEA                                 STEVEN C EARNSHAW                            STEVEN W TOWN
2040 W BELMONT, #201                        5679 POLAR WAY                               6301 E CRESTLINE AVE
CHICAGO, IL 60618-6464                      PARK CITY , UT 84098-7765                    GREENWOOD VILLAGE , CO 80111-1459



STUBBS ALDERTON & MARKILES LLP              Saf-T-Glove                                  Safeco Building Maintenance
15260 VENTURA BLVD                          1121 Fountain Parkway                        5013 Brandenburg Lane
26TH FL                                     Grand Prairie, TX 75050-1514                 The Colony, TX 75056-2043
SHERMAN OAKS , CA 91403-5307


Safety Supply Corporation (Radians)         Sam’s Club                                   Scott Jarus
880 North Hills Blvd.                       Attn: General Merchandise Manager            938 Duncan Avenue
Suite 505                                   2101 SE Simple Savings Drive                 Manhattan Beach, CA 90266-6626
Reno, NV 89506-5710                         Bentonville, AR 72716-0001


Select Nantong Safety Products Co           Shur-Sales & Marketing, Inc.                 Skadden Arps Slate Meagher & Flom LLP
No. 198 Youyi Road W                        3830 S Windermere St.                        P O Box 1764
Jueguang, Rudong, Jiangsu                   Englewood, CO 80110-3452                     White Plains, NY 10602-1764
226400, China


Skadden, Arps, State, Meagher & Flom LLP    Snap-On                                      Southern Glove
300 S Grand Ave Suite 3400                  PO Box 1410                                  749 AC Little Drive
Los Angeles, CA 90071-3137                  Kenosha, WI 53141-1410                       Newton, NC 28658-3769



State Board of Equalization                 State Board of Equalization                  Stauffer Glove & Safety
Account Information Group, MIC: 29          Special Operations Bankruptcy Team           361 East Sixth Street
P.O. Box 942879                             MIC: 74                                      Red Hill, PA 18076-1118
Sacramento, CA 94279-0029                   P.O. Box 942879
                                            Sacramento, CA 94279-0029

Stubbs, Alderton & Markiles, LLP            Superior Printing, Inc.                      Synetra
15260 Ventura Blvd                          P O Box 844550                               1110 E. State Highway 114
20th Floor                                  Los Angeles, CA 90084-4550                   Suite 200
Sherman Oaks, CA 91403-5303                                                              Southlake, TX 76092-5252
               Case 1:17-bk-12408-MB
TAB Sales Solutions                           Doc   347 PARTNERS
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                                                                                       TARBY BRYANT         Desc
12109-94A Street                               Main   Document
                                               24 TAMALPAIS AVE       Page 26 of 52    4 HAWTHORNE CIR
Grand Prairie, AB T8V 5C2 Canada               MILL VALLEY, CA 94941-1823              SANTA FE, NM 87506-7903



THE ELLEN IDELSON TRUST DATED MARCH 20 2003    THE ORCUTT FAMILY TRUST                 THE SASSOLA III FAMILY TRUST
710 BROOKTREE ROAD                             3221 N SAN SEBASTIAN DRIVE              7771 HERON COURT
PACIFIC PALISADES, CA 90272-3901               TUSCON, AZ 85715-3023                   GOLETA , CA 93117-2477



THOMAS ELLIOTT                                 THOMAS FELTON                           THOMAS KENDALL
ll5 BROOKS AVE                                 2006 TOUCH GOLD COURT                   1112 MONTANA AVENUE # 7l6
VENICE , CA 90291                              ROWLETT , TX 75088-2940                 SANTA MONICA , CA 90403-1652



THOMAS MASON & LISA L . MASON                  THOMAS W . MASON                        TODD GITLIN
JT TEN                                         6856 WISH AVENUE                        269 S BEVERY DR STE 1213
6856 WISH AVENUE                               LAKE BALBOA , CA 91406-4440             BEVERLY HILLS, CA 90212-3851
LAKE BALBOA , CA 91406-4440


TRI/AUSTIN, INC                                (p)TXU ENERGY RETAIL COMPANY LP         TXU Energy Retail Company LLC
P O BOX 207097                                 CO BANKRUPTCY DEPARTMENT                C/O Bankruptcy Department
DALLAS, TX 75320-7097                          PO BOX 650393                           PO Box 650393
                                               DALLAS TX 75265-0393                    Dallas TX 75265-0393


Tamer Shiha                                    The William J . & Seemah W . Idelson    Three Part Advisors, LLC
P.O.Box 117893                                 Family Trust Dated April 29, 1997       P O Box 92698
300                                            7lO Brooktree Road                      Southlake, TX 76092-0698
Carrollton, TX 75011-7893                      Pacific Palisades, CA 90272


True Value                                     Tyco Integrated Security, LLC           U. S. Securities and Exchange Commission
8600 W. Bryn Mawr Avenue                       P.O. Box 371967                         Attn: Bankruptcy Counsel
Chicago, IL 60631-3505                         Pittsburgh, PA 15250-7967               444 South Flower Street, Suite 900
                                                                                       Los Angeles, CA 90071-2934


U.S. Trustee San Fernando Valley               UPS Freight                             Uline
915 Wilshire Blvd.                             7754 Paramount Blvd.                    2950 E. Jurupa Street
Suite 1850                                     Pico Rivera, CA 90660-4309              Ontario, CA 91761-2936
Los Angeles, CA 90017-3560


United States Trustee (SV)                     University of Milwaukee                 Urena,Daniel
915 Wilshire Blvd, Suite 1850                  P O Box 500                             13670 Janwood Lane
Los Angeles, CA 90017-3560                     University of Wisconsin - Milwaukee     Farmers Branch, TX 75234-4831
                                               Milwaukee, WI 53201-0500


V JOSEPH STUBBS                                VALORIE STANSBERRY                      VANE CLAYTON
C/O STUBBS ALDERTON & MARKILES                 3227 N RICHMOND                         1364 NORTH PARK DRIVE
15260 VENTURA BLVD 2OTH FL                     CHICAGO, IL 60618-5817                  LAFAYETTE, CO 80026-3441
SHERKAN OAKS, CA 91403-5325
Vane Clayton Case 1:17-bk-12408-MB   Doc   347
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                                                            Associates, Inc.                 14:25:05
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1364 Northpark Drive                  Main    Document
                                      193 Sam Brown Hill Road   Page    27   of 52    5225 Las Colinas Blvd
Lafayette, CO 80026-3441              Brownfield, ME 04010-4435                       Apt 2301
                                                                                      Irving, TX 75039-4564


W.W. Grainger. Inc.                   WILLIAM AISENBERG                               WILLIAM M. AISENBERG
Leah Wardak                           3900 LEGACY TRAIL CIR                           GARDERE WYNNE SEWELL, LLP
100 Grainger Parkway                  CARROLLTON, TX 75010-6458                       C/O ALAN J. PERKINS
Lake Forest, IL 60045-5202                                                            2021 MCKINNEY AVE STE 1600
                                                                                      DALLAS TX 75201-4761

WILLIAM MECK                          WILLIAM MECK & TERESA MECK                      WINDSPEED SPORTS CO LTD
11027 LIMERICK AVENUE                 JT TEN                                          14226 VENTURA BLVD.
CRATSWORTH , CA 91311-1617            11027 LIMERICK AVENUE                           SHERMAN OAKS, CA 91423-2715
                                      CHATSWORTH , CA 91311-1617


WINSPEED SPORTS SHANGHAI CO., LTD.    WONEEL MIDAS LEATHERS                           Washington,Cheryl
858 MINGZHU ROAD                      JL GEMBOR RAYA DESA PASIRJAYA                   3577 N. Beltline Rd.
SHANGHAI                              TANGERANG                                       #215
China 00020-1702                      BANTEN, INDONESIA 15135                         Irving, TX 75062-7804


Weispfenning,Daniel Walton            Werner Logistics                                Windstream
3333 Harry Hines Blvd., Apt. 9152     10251 Calabash Avenue                           PAETEC
Dallas, TX 75201-6032                 Fontana, CA 92335-5275                          P O Box 9001013
                                                                                      Louisville, KY 40290-1013


Wonell America, Inc.                  Worldwide                                       XIN GUO
Janice Lee, General Manager           PO Box 88607                                    54O LAKE FOREST DR
1520 Oak Street                       Seattle, WA 98138-2607                          COPPELL , TX 75019
South Pasadena, CA 91030-4422


Yellow and Roadway                    nChannel, Inc.                                  Jeffrey Cordes
P. O. Box 100129                      8760 Orion Place, Ste 210                       Gardere Wynne Sewell LLP
Pasadena, CA 91189-0003               Columbus, OH 43240-2109                         c/o Shiva Beck
                                                                                      2021 McKinney Avenue
                                                                                      Suite 1600
                                                                                      Dallas, TX 75201-4761




Samuel R. Maizel                      William Aisenberg
Dentons US LLP                        Gardere Wynne Sewell LLP
601 South Figueroa St.                c/o Shiva Beck
Suite 2500                            2021 McKinney Ave.
Los Angeles, CA 90017-5709            Suite 1600
                                      Dallas, TX 75201-4761
        Case 1:17-bk-12408-MB        Doc 347 Filed 12/15/17 Entered 12/15/17 14:25:05            Desc
                                      Main Document    Page 28 of 52
Ironclad Performance Wear (8300)                                              Debtor
                                                                              ICPW Liquidation Corporation
                                                                              15260 Ventura Blvd., 20th Floor
                                                                              Sherman Oaks, CA 91403


United States Trustee                  RSN                                    Franchise Tax Board
915 Wilshire Blvd., Suite 1850         John Stern, Asst Attorney General      Bankruptcy Section, MS: A-340
Los Angeles, California 90017          Attorney General's Office              P. O. Box 2952
                                       Bankruptcy & Collections Division      Sacramento, CA 95812-2952
                                       P.O. Box 12548
                                       Austin, TX 78711-2548
Secured Creditor                       Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
Radians Wareham Holding, Inc.          E. Franklin Childress, Jr.             Sharon Z. Weiss
Attn: Mike Tutor, CEO                  Baker, Donelson, Bearman, Caldwell &   Bryan Cave
5305 Distriplex Farms                  Berkowitz, PC                          120 Broadway, Suite 300
Memphis, TN 38141                      165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                       Memphis, Tennessee 38103




Creditors Committee:



Committee Counsel                      Resources Global Professionals         Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                      c/o Brent Waters                       c/o Brian Mitteldorf
Attn: Cathrine M Castaldi              17101 Armstrong Ave                    Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl               Irvine, CA 92614                       14226 Ventura Blvd.
Irvine, CA 92612                                                              Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel               Patrick W O’Brien                      Ronald Chez
Dentons US LLP                         301 Whitmore Lane                      1524 N. Astor Street
Attn: Samuel Maizel & Tania Moyron     Lake Forrest, IL 60045-4707            Chicago, IL 60610
601 South Figueroa St., Suite 2500
Los Angeles, CA 90017-5704

Scott Jarus
938 Duncan Avenue
Manhattan Beach, CA 90266
        Case 1:17-bk-12408-MB      Doc 347 Filed 12/15/17 Entered 12/15/17 14:25:05      Desc
                                    Main Document    Page 29 of 52
Ironclad Performance Wear (8300)
Brokers




Issuer Services                      JOHN BARRY                       LUKE HOLLAND
C/O ADP Proxy Services               1300 THAMES ST                   1200 LANDMARK CENTER
51 Mercedes Way                      6TH FLOOR                        SUITE 800
Edgewood NY 11717                    BALTIMORE MD 21231               OMAHA NE 68102


ANH MECHALS                          ISSUER SERVICES                  ELIZABETH ROLWES
9300 UNDERWOOD AVENUE                C/O MEDIANT COMMUNICATION        201 PROGRESS PARKWAY
SUITE 400                            8000 REGENCY PARKWAY             MARYLAND HEIGHTS MO 63043
OMAHA NE 68114                       CARY NC 27518


BEN BEGUIN                           KRISTIN KENNEDY                  ALAN FERREIRA
14321 N. NORTHSIGHT BOULEVARD        9785 TOWNE CENTRE DRIVE          P.O. BOX 30014
SCOTTSDALE AZ 85260                  SAN DIEGO CA 92121-1968          LOS ANGELES CA 90030



JOSEPH DI BUONO                      MATT BUETTNER                    BRIAN DARBY
61 BROADWAY                          2801 MARKET STREET               ONE DALLAS CENTER
31ST FLOOR                           H0006-09B                        350 M. ST. PAUL SUITE 1300
NEW YORK NY 10006                    ST. LOUIS MO 63103               DALLAS TX 75201


BILIANA STOIMENOVA                   EARL WEEKS                       CHRISTINA YOUNG
1700 PACIFIC AVENUE, SUITE 1400      4804 DEAR LAKE DR E              2423 E LINCOLN DRIVE
DALLAS TX 75201                      JACKSONVILLE FL 32246            PHOENIX AZ 85016-1215



MANDI FOSTER                         JANE FLOOD                       PETER CLOSS
1005 N. AMERITRADE PLACE             1000 HARBOR BLVD                 499 WASHINGTON BOULEVARD
BELLEVUE NE 68005                    WEEHAWKEN NJ 07086               JERSEY CITY NJ 07310




JOANNE PADARATHSINGH                 STEVE SCHAFER SR                 RHONDA JACKSON
499 WASHINGTON BLVD                  60 S 6TH ST - P09                1201 ELM STREET
JERSEY CITY NJ 07310                 MINNEAPOLIS MN 55402-4400        SUITE 3500
                                                                      DALLAS TX 75270


BILL WALKER                          JANICA BRINK                     SCOTT TORTORELLA
236 SOUTH MAIN STREET                545 WASHINGTON BLVD.             150 SOUTH WACKER DRIVE
SALT LAKE CITY UT 84101              JERSEY CITY NJ 07310             11TH FLOOR
                                                                      CHICAGO IL 60606


JOHN FAY                             RITA LINSKEY                     Mark F. Gress
500 STANTON CHRISTIANA ROAD          8 THIRD STREET NORTH             c/o Mediant Communications Inc.
OPS 4, FLOOR: 03                     GREAT FALLS MT 59401             200 Regency Forest Drive
NEWARK DE 19713-2107                                                  Cary NC 27518
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                                Main Document    Page 30 of 52
JOHN ROSENBACH                   VICTOR LAU                       JOSEPH LAVARA
1271 AVENUE OF THE AMERICAS      34 EXCHANGE PLACE                ONE PERSHING PLAZA
14TH FLOOR                       PLAZA II                         JERSEY CITY NJ 07399
NEW YORK NY 10020                JERSEY CITY NJ 07311


DIANE TOBEY                      KARIN MCCARTHY                   JAN SUDFELD
77 SUMMER STREET                 8 GREENWICH OFFICE PARK          777 E. WISCONSIN AVENUE
BOSTON MA 02110                  GREENWICH CT 06831               19TH FLOOR
                                                                  MILWAUKEE WI 53202


ISSUER SERVICES                  JESSE W. SPROUSE                 ROBERTA GREEN
C/O BROADRIDGE                   8006 DISCOVERY DRIVE             880 CARILION PARKWAY
51 MERCEDES WAY                  SUITE 200                        SAIT PETERSBURG FL 33716
EDGEWOOD NY 11717                RICHMOND VA 23229


ERIN M STIELER                   GREG WRAALSTAD                   KEVIN MURPHY
682 AMP FINANCIAL CENTER         901 3RD AVE SOUTH                660 S. FIGUEROA STREET
MINNEAPOLIS MN 55474             MINNEAPOLIS MN 55474             SUITE 1450
                                                                  LOS ANGELES CA 90017


SACHIN GOYAL                     LANCE WELLS                      JANIE DOMINGUEZ
500 STANTON CHRISTIANA ROAD      5001 KINGSLEY DRIVE              208 E. 10TH STREET
OPS 4, FLOOR 02                  MAIL DROP 1MOB2D                 ROOM 410
NEWARK DE 19713-2107             CINCINNATI OH 45227              AUSTIN TX 78701


RYAN CHISLETT                    STEPHANIE KAPTA                  Earl Weeks
801 S CANAL STREET               1555 N RIVERCENTER DRIVE         c/o Merrill Lynch Corporate Actions
ATTN: CAPITAL STRUCTURES-C1N     SUITE 302                        4804 Deer Lake Dr. E.
CHICAGO IL 60607                 MILWAUKEE WI 53212               Jacksonville FL 32246


HOLLY NICKERSON
560 MISSION STREET
SUITE 1300
SAN FRANCISCO CA 94105
        Case 1:17-bk-12408-MB      Doc 347 Filed 12/15/17 Entered 12/15/17 14:25:05      Desc
                                    Main Document    Page 31 of 52
Ironclad Performance Wear (8300)
Shareholders




DANIEL SHELLEY WARD FAMILY           THE ELLEN IDELSON TRUST DATED    ETHAN AISENBERG
TRUST DTD 12-22-99                   MARCH 20 2003                    3900 LEGACY TRAIL CIR
                                     710 BROOKTREE ROAD               CARROLLTON, TX 75010
                                     PACIFIC PALISADES, CA 90272


WILLIAM AISENBERG                    GREG AKSELRUD                    GREGORY AKSELRUD
3900 LEGACY TRAIL CIR                C/O STUBBS ALDERTON &            15260 VENTURA BLVD
CARROLLTON, TX 75010                 MARKILES LLP                     20TH FL
                                     15260 VENTURA BLVD 20TH FL       SHERMAN OAKS, CA 91403
                                     SHERMAN OAKS, CA 91403

SCOTT ALDERTON                       ELI ARRIV                        BARBARA ASHTON
19687 LOS ALIMOS ST                  4340 COLETA RD                   2417 LESTER AVENUE
CHATSWORTH, CA 91311                 AGOURA, CA 91301                 CLOVIS, CA 93619



RYAN AZLEIN                          B.A.T.B. LLC                     NATASHA H BEN
1137 Calle Elaina                    5750 SOUTH BEECH CT              104 Saratoga Drive
Thousand Oaks, CA 91630              GREENWOOD VILLAGE, CO 80121      Belle Chasse, LA 70037



R D PETE BLOOMER                     RONALD D BLOOMER                 WILLIAM L BOETTCHER
7542 CRESTVIEW DRIVE                 7542 CRESTVIEW DR                727 HAYS CIR
LONGMONT, CO 80504                   NIWOT, CO 80504                  LONGMONT, CO 80501




HUBERT L BROWN III & ANNABELLE       TARBY BRYANT                     MCDERMOTT & BULL
BROWN FOWLKES                        4 HAWTHORNE CIR                  2 VENTURE
H L BROWN JR CHARITABLE LEAD         SANTA FE, NM 87506               SUITE 100
ANNUITY TRUST                                                         IRVINE, CA 92618
PO BOX 2237
MIDLAND, TX 79702
CHERYL WASHINGTON                    ROBERT C CLARK                   VANE CLAYTON
1920 HUTTON CT                       12151 WEST 32ND DR               270 W PEARL
STE 300                              WHEEATRIDGE, CO 80033            SUITE 103
FARMERS BRANCH, TX 75234                                              JACKSON, WY 83001


CLAYTON WYOMING LLC                  DAVID J COOK                     JEFFREY D CORDES
1364 NORTHPARK DRIVE                 2163 LIMA LOOP                   1570 BENT CREEK DRIVE
LAFAYETTE, CO 80026                  PMB 071156                       SOUTHLAKE, TX 76092
                                     LAREDO, TX 78045


KEVIN DEBRE                          MELISSA DERBY                    MICHAEL ANTHONY DIGREGORIO
C/O STUBBS ALDERTON &                393 LAUREL AVENUE                TRUSTEE
MARKILES LLP                         NOVATO, CA 94945                 THE DIGREGORIO REVOCABLE
15260 VENRUA BLVD 20TH FL                                             TRUST
SHERMAN OAKS, CA 91403                                                1420 KINGSBORO CT
                                                                      WESTLAKE VILLAGE, CA 91362
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GLEN K INGALLS & RENEE             JEFFREY F GERSH & ARIE J GERSH   STEVEN C EARNSHAW
PACHECO TTEES                      LIVING TRUST DTD                 5679 POLAR WAY
THE INGALLS PACHECO 2005 TRUST     09/26/1991                       PARK CITY, UT 84098
747 ROSEMOUNT RD                   5465 ROUND MEADOW RD
OAKLAND, CA 94610                  HIDDEN HILLS, CA 91302

KYLE EDLUND                        REYHEENA EIDARIUS                DONALD P ELLIOTT
3893 FAIRWAY DR                    23436 CAMINITO VALLE             9400 E CLIFF AVE
WOODBURY, MN 55125                 LAGUNA HILLS, CA 92563           #361
                                                                    DENVER, CO 80231


THOMAS ELLIOTT                     CEDE & CO (FAST)                 RICHARD KRONMAN & IAN
115 BROOKS AVE                     570 WASHINGTON BLVD              MATTHEW TRUSTEES FBO
VENICE, CA 90291                   JERSEY CITY, NJ 07310            KRONMAN MATTHEW & ASSOC
                                                                    30111 HARVESTER RD
                                                                    MALIBU, CA 90265

STEVE FEDEA                        THOMAS FELTON                    MARK W FISCHER
2040 W BELMONT                     2006 TOUCH GOLD COURT            285 IROQUOIS DR
#201                               ROWLETT, TX 75088                BOULDER, CO 80303
CHICAGO, IL 60618


SCOTT GALER                        BROCK GANELES                    KONRAD GATIEN
C/O STUBBS ALDERTON &              41 W 72ND ST                     15260 VENTURA BLVD
MARKILES                           APT 14A                          20TH FLOOR
15260 VENTURA BLVD 20TH FL         NEW YORK, NY 10023               SHERMAN OAKS, CA 91403
SHERMAN OAKS, CA 91403

GEMINI PARTNERS INC                ARTHUR GERRICK                   DANIEL THOMAS GIEBER
10900 WILSHIRE BLVD                172 WILD LILAC                   763 B LOMA VERDE AVENUE
STE 300                            IRVINE, CA 92620                 PALO ALTO, CA94303
LOS ANGELES, CA 90024


CHARLES H GIFFEN                   TODD GITLIN                      STEPHEN GOODHUE
6000 ELBA PLACE                    269 S BEVERY DR STE 1213         203 STAR CARLISLE
WOODLAND HILLS, CA 91367           BEVERLY HILLS, CA 90212          W AUSTRAILIA,, 6101
                                                                    AUSTRAILIA


MICHAEL GRANT                      MICHAEL GROSSMAN                 XIN GUO
222 ROUND HILL RD                  5557 GROEHMANN LN                540 LAKE FOREST DR
TIBURON, CA 94920                  FREDERICKSBURG, TX 78624         COPPELL, TX 75019



MARK HAWKING                       CHRISTOPHER M HAZLITT            DAVID G HILL
2278 CAMARILLAR DR                 1063 Mapleton Avenue             1712 PEARL ST
CAMARILLO, CA 93010                Boulder, CO 80304                BOULDER, CO 80302



MICHAEL CASEY HOCH                 JONATHAN HODES                   RHONDA HOFFARTH
291 BROADWAY                       C/O STUBBS ALDERTON &            462 CALLE DE ARAGON
COSTA MESA, CA 92627               MARKILES                         REDONDO BEACH, CA 90277
                                   15620 VENTURA BLVD 20TH FL
                                   SHERMAN OAKS, CA 91403
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EMIL IANNACCONE TTEE               ENSCO INC                        DAVID L JACOBS
EMIL IANNACCONE SEPERATE           3110 FAIRVIEW PARK DR STE 300    335 LEE HILL DRIVE
PROPERT TRUST                      FALLS CHURCH, VA 22042           BOULDER, CO 80302
11855 WOODLEY AVE
GRANADA HILLS, CA 91344

EDUARD ALBERT JAEGER               ERIC JAEGER                      HEIDI JAEGER
443 CONCORD ST                     1408 CAMBRIDGE CROSSING          26800 PACIFIC COAST HWY
EL SEGUNDO, CA 90245               SOUTHLAKE, TX 76092              MALIBY, CA 90265



JARUS FAMILY TRUST                 JARUS FAMILY TRUST TR SCOTT M    JARUS FAMILY TRUST U/A DTD
938 DUNCAN AVE                     JARUS TTEE                       10/19/2007
MANHATTAN BEACH, CA 90266          938 DUCAN AVE                    938 DUNCAN AVE
                                   MANHATTAN BEACH, CA 90266        MANHATTAN BEACH, CA 90266


REBECCA D JARUS & SCOTT M          JOANNA WALDEAR-LUCAS AS TTEE     MICHAEL B JOHNSON
JARUS TTEES                        FBO THE JOANNA                   7255 RADFORD AVE
JARUS FAMILY TRUST                 WALDEAR-LUCAS LIVING TRUST       N HOLLYWOOD, CA 91605
938 DUCAN AVE                      PO BOX 101
MANHATTAN BEACH, CA 90266-6626     MALIBU, CA 90265

CHARLES E FRISCO JR                CHARLES E FRISCO JR              ROBERT F CHARLES JR
12749 Norwalk Blvd. Ste 100        8135 FLORENCE AVENUE             2955 PARK LAKE DR
Norwalk, CA 90650                  SUITE 101                        BOULDER, CO 80301
                                   DOWNEY, CA 90240


STANLEY M RUMBOUGH JR              CHRIS JUETTEN                    MATTHEW JUETTEN
44 COCOANUT ROW STE B103           2906 NW ENDICOTT ST              633 HAWKSBILL ISLAND DR
PALM BEACH, FL 33480               CAMAS, WA 98607                  SATELLITE BEACH, FL 32937



PATRICK JUETTEN                    ANTHONY KEATS                    THOMAS KENDALL
11417 HASTINGS ST NE               15260 VENTURA BLVD               1112 MONTANA AVENUE # 716
BLAINE, MN 55449                   20TH FLOOR                       SANTA MONICA, CA 90403
                                   SHERMAN OAKS, CA 91403


BRUCE G KLASS                      MATTHEW LAUBERT                  KNUTE LEE
447 KENSINGTON DR                  C/O IRONCLAD PERFORMANCE         9109 WILSHIRE COURT NE
CORDILERA, CO 81632                WEAR CORP                        ALBUQUERQUE, NM 87122
                                   1920 HUTTON COURT #300
                                   FARMERS BRANCH, TX 75234

JAEGER FAMILY LLC                  GREAT PANDA INVESTMENT CO        SEAMARK FUND LP
1408 CAMBRIDGE CROSSING            LLLP                             223 WILMINGTON W CHESTER PIKE
SOUTHLAKE, TX 76092                1325 PITKIN AVE                  #115
                                   SUPERIOR, CO 80027               CHADDS FORD, PA 19317


KLEIN PARTNERS LTD                 FAMILY TRUST OF EARL G           MURRAY MARKILES
4973 CLUBHOUSE CT                  LUNCEFORD                        C/O STUBBS ALDERTON &
BOULDER, CO 80301                  8850 E FERNAN LAKE RD            MARKILES
                                   COEUR DALENE, ID 83814           15260 VENTURA BLVD 20TH FLOOR
                                                                    SHERMAN OAKS, CA 91403
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THOMAS W. MASON                   CINDY MATTHEWS                   JOHN MCILVERY
6856 WISH AVENUE                  6725 WHALEY DR                   C/O STUBBS ALDERTON &
LAKE BALBOA, CA 91406             BOULDER, CO 80303                MARKILES
                                                                   15260 VENTURA BLVD 20TH FL
                                                                   SHERMAN OAKS, CA 91403

RONALD S WEAVER MD                WILLIAM MECK                     ROBERT MEOTTLE
536 PALISADES AVENUE              11027 LIMERICK AVENUE            27909 SMYTH DR
SANTA MONICA, CA 90402            CHATSWORTH, CA 91311             VALENCIA, CA 91355



MICHAEL A DIGREGORIO              PATRICK W O'BRIEN                JEFFREY ORR
1420 KINSGBORO COURT              301 WHITMORE LANE                733 21ST ST
WESTLAKE VILLAGE, CA 91362        LAKE FOREST, IL 60045            MERMOSA BEACH, CA 90254



TAMALPAIS PARTNERS                MARC S PESTER                    ALL IN THE BEHL FAMILY RLLP
24 TAMALPAIS AVE                  278 DALE RD                      37271 S STONEY CLIFF DR
MILL VALLEY, CA 94941             SHORT HILLS, NJ 07078            TUCSON, AZ 85739



JOSEPH D RYAN                     MIKE SALOMON                     HAROLD F SCHAFF
1986 CLOVERDALE AVE               1440 E 1st Street Ste. 100       780 GLEN ANNIE RD
HIGHLAND PARK, IL 60035           SANTA ANA, CA 92701              GOLETA, CA 93114



CATHERINE A SEAK                  PETER SEAMANS                    JAMES SEIBEL
1643 OAKPOINT DR                  1360 WALNUT ST                   1430 N HARPER AVE
WACONIA, MN 55387                 #205                             #305
                                  BOULDER, CO 80302                W HOLLYWOOD, CA 90046


BRIAN SHEENY                      SPM CENTER LLC                   KEALA STANFILL
11711 DARLINGTON AVE UNIT 7       27909 SMYTH DR                   12049 SWANUKER TERR
LOS ANGELES, CA 90049             VALENCIA, CA 91355               BEAVERTON, OR 97007



VALORIE STANSBERRY                STUBBS ALDERTON & MARKILES       V JOSEPH STUBBS
3227 N RICHMOND                   LLP                              C/O STUBBS ALDERTON &
CHICAGO, IL 60618                 15260 VENTURA BLVD               MARKILES
                                  26TH FL                          15260 VENTURA BLVD 20TH FL
                                  SHERMAN OAKS, CA 91403           SHERMAN OAKS, CA 91403

PAMELA SULLIVAN                   EDWIN BALDRIDGE TTEE UA DTD      HORACE DUNBAR HOSKINS JR &
1682 HAYES STREET APT C           10/30/1992 EDWIN T               ANN REID HOSKINS JT
EUGENE, OR 97402                  BALDRIDGE DECLARATION TRUST      TEN
                                  605 SAN ANTONIA AVE              7 PENENSULA RD
                                  MANY LA, LA 71449                BELVEDERE, CA 94920

JOHN E ORCUTT & MARCIA ORCUTT     ROBERT H KEELEY & SANDRA D       THOMAS W. MASON & LISA L.
JT TEN                            KEELEY JT TEN                    MASON JT TEN
3221 N SAN SEBASTIAN DRIVE        PO BOX 240                       6856 WISH AVENUE
TUSCON, AZ 85715                  HILLSIDE, CO 81232               LAKE BALBOA, CA 91406
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WILLIAM MECK & TERESA MECK JT     HAROLD F SCHAFF & CHERYL A       DENNIS TORRES & AVERI TORRES
TEN                               SCHAFF TTEES THE                 6779 LAS OLAS WAY
11027 LIMERICK AVENUE             SCHAFF TRUST DTD 1-17-03         MALIBU, CA 90265
CHATSWORTH, CA 91311              780 GLEN ANNIE RD
                                  GOLETA, CA 93114

STEVEN W TOWN                     BIRCH FAMILY TRUST               DENNIS TORRES & AVERI TORRES
6301 E CRESTLINE AVE              1435 OLIVE ST                    TRUST
GREENWOOD VILLAGE, CO 80111       SANTA BARBARA, CA 93101          6779 LAS OLAS WAY
                                                                   MAILBU, CA 90265


KATHERINE BERCI DEFEVERE          RICHARD KRONMAN & MAUREEN        SEGAL FAMILY TRUST
TRUSTEE DEFEVERE TRUST            KRONMAN REVOCABLE TRUST          10100 SANTA MONICA BLVD #1300
24200 ALBERS STREET               30111 HARVESTER RD               LOS ANGELES, CA 90067
WOODLAND HILLS, CA 91367          MAILBU, CA 90265


THE ORCUTT FAMILY TRUST           THE SASSOLA III FAMILY TRUST     THE WILLIAM J. & SEEMAH W.
3221 N SAN SEBASTIAN DRIVE        7771 HERON COURT                 IDELSON FAMILY TRUST
TUSCON, AZ 85715                  GOLETA, CA 93117                 DATED APRIL 29 1997
                                                                   710 BROOKTREE ROAD
                                                                   PACIFIC PALISADES, CA 90272

ANNALOUISE JAEGER & KEITH         ED WETHERBEE                     LOUIS WHARTON
VERWOEST                          7269 SIENA WAY                   15260 VENTURA BLVD
532 PAUMAKUA PL                   BOULDER, CO 80301                20TH FLOOR
KAILUS, HI 96734                                                   SHERMAN OAKS, CA 91403


KIM WOODWORTH & BILL              JOE WORDEN                       JAMES R YOUNG
WOODWORTH                         4335 FOX CIRCLE                  2009 RIVERVIEW DR
101 VALLEY HILL RD                MESA, AZ 85205                   BERTHOUD, CO 80513
EXTON, PA 19401


CHARLES SCHWAB & CO INC           MORGAN STANLEY SMITH BARNEY
2423 E LINCOLN DR                 1 NEW YORK PLAZA - 39TH FL
PHOENIX, AZ 85016                 NEW YORK, NY 10004
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Ironclad Performance Wear (8300)
Equity Holders – Supplemental List




AAION PARTNERS INC                   AARON K HALE CUST                 ALAN DEMETER
PO BOX 3034                          OWEN S HALE UTMA CA               2560 THUNDERBIRD LN
MANHATTAN BEACH, CA 90266            725 W OAK AVE                     SAPULPA, OK 74066
                                     EL SEGUNDO, CA 90245


ALEX ANTONUK &                       ALEX KAWAKAMI                     ALEX ROTONEN
MICHAL ANTONUK JTWROS                2812 KAHAWAI ST                   1008 CLEMSON DR
390 E SEQUOIA ST                     HONOLULU, HI 96822                ARLINGTON, TX 76012
REPUBLIC, MO 65738


AMANDA RAE REGAN                     ANDREA JANELLE SIMON              ANDREW DARKO
12 COUNTRY PLACE LANE                2201 N CALIFORNIA ST. #32         3104 WILSON ROAD
ROCHESTER, NY 14612                  SAN FRANCISCO, CA 94115           CONROE, TX 77304



ANDREW G BANYAS                      ANDREW J CRYER                    ANDREW J RAYKOVICS
ROTH IRA ETRADE CUSTODIAN            2828 LEMMON AVE APT 5131          IRA R/O ETRADE CUSTODIAN
10708 SILVER LEAF WAY APT 208        DALLAS, TX 75204                  8558 S LAKE CIR
KNOXVILLE, TN 37931                                                    FORT MYERS, FL 33908


ANDREW THUNG &                       ANNIE EVANS                       ANTHONY A SHORTT
LISA M THUNG JTWROS                  CHARLES SCHWAB & CO INC CUST      SEP IRA ETRADE CUSTODIAN
45 E 89TH ST APT 20D                 970 PACIFIC STRAND PL , APT 203   3044 NORWELL COURT
NEW YORK, NY 10128                   VENTURA, CA 93003                 LOCUST GROVE, GA 30248


ANTHONY A SIENKOWSKI IRA             ANTHONY ROBERT HURD               ANTHONY SIENKOWSKI
WFCS AS CUSTODIAN                    CHARLES SCHWAB & CO INC CUST      1757 EAGLE DR
1757 EAGLE DRIVE                     425 W TRADE ST APT 704            LAKE GENEVA, WI 53147
LAKE GENEVA, WI 53147                CHARLOTTE, NC 28202


ATC AS CUST FOR IRA R/O              AUDREY G BEYER                    BARBARA ANN CARBERRY
WILLIAM P BORDUIN                    5400 KENRICK PARK DRIVE           8012 GOODHURST DR
2406 FALBROOK LN                     SAINT LOUIS, MO 63119             GAITHERSBURG, MD 20882
CROFTON, MD 21114


BARBARA JOAN DEGEORGE &              BARBARA KLEEMANN TTEE             BARBARA LIEB STROUGO
M DEGEORGE KELLY JT TEN              BYPASS TST SUBTST KLEEMANN        60 E 42ND ST STE 2215
9304 VILLA RIDGE DR                  526 VIA SINUOSA                   NEW YORK, NY 10165
LAS VEGAS, NV 89134                  SANTA BARBARA, CA 93110


BARBARA RIEBACK TOD                  BEN KING                          BENJAMIN L PADNOS
SUBJECT TO STA TOD RULES             217 32ND PL                       221 34TH ST
11267 YOLANDA AVE                    MANHATTAN BEACH, CA 90266         MANHATTAN BEACH, CA 90266
PORTER RANCH, CA 91326
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BEVERLY A SHACTER & BURTON B      BILL HAUCK                       BILL MECK &
SHACTER REVOC TRUST 2/5/98        214 STRAWBERRY CIR               TERESA MECK JT TEN
5800 ARBOUR AVENUE                CRANBERRY TOWNSHIP, PA 16066     11027 LIMERICK AVENUE
EDINA, MN 55436                                                    CHATSWORTH, CA 91311


BILL POINTER ROLLOVER IRA         BILL R TAYLOR & (1D1)            BLAYNE M NAGATA & HEIDI K
TD AMERITRADE CLEARING INC        DEBRA H TAYLOR JTTEN             KIMURA
CUSTODIAN                         186 CEDARWOOD PLACE              JTWROS
22065 LAUREL OAK DR               MOCKSVILLE, NC 27028             1874 HOOKUPA ST
PARKER, CO 80138                                                   PEARL CITY, HI 96782

BRENDA MAE ENGEL ROLLOVER IRA     BRENT S MORRISON (ROTH IRA)      BRIAN L WILLIAMS
TD AMERITRADE CLEARING            WFCS AS CUSTODIAN                6742 CLYBOURN AVENUE
CUSTODIAN                         1400 KELTON AVE #201             NORTH HOLLYWOOD, CA 91606
1004 W 86TH ST                    LOS ANGELES, CA 90024
KANSAS CITY, MO 64114

BRIAN VANGUNTEN                   C NEUHAUSER CUST FOR             CALVIN CHENG CHIEN & KAREN
132 DEVRON CIR                    C NEUHAUSER UNYUTMA              KUO CHIEN
EAST PEORIA, IL 61611             4 STABLE RD                      DESIGNATED BENE PLAN/TOD
                                  TUXEDO PARK, NY 10987            4905 MARION AVE
                                                                   TORRANCE, CA 90505

CANACCORD GENUITY INC             CAPITAL ONE INVESTING LLC.       CARL C HSU TTEE
IEG TRADING DESK BOOK             -OMNIBUS ACCOUNT--               DR CARL C HSU REV LIV TRUST
1210SP ASIA REGION, 535 MADISON   83 SOUTH KING STREET STE 700     4559 BAILEY WAY
AVE                               SEATTLE, WA 98104                SACRAMENTO, CA 95864
NEW YORK, NY 10022

CAROLE M. ORMISTON                CARRIE LELO                      CATHERINE BEDROS BRUNICK &
1700 RIVIERE AVE.                 8380 S 36TH ST                   RICHARD R BRUNICK JT WROS
METAIRIE, LA 70003                FRANKLIN, WI 53132               1136 THIRD STREET
                                                                   HERMOSA BEACH, CA 90254


CECILIA BACON ROLLOVER IRA TD     CHARLES ALEXANDER WILLHOIT       CHARLES ALLAN DAVIS
AMERITRADE CLEARING               246 RACE ST                      CHARLES SCHWAB & CO INC CUST
CUSTODIAN                         DENVER, CO 80206                 1850 ADOBE CREEK DR
1801 N GREENVILLE AVE APT 3132                                     PETALUMA, CA 94954
RICHARDSON, TX 75081

CHARLES DUFFY                     CHARLES H MAHER JR IRA           CHARLES JEFFERSON PIPPIN
2601 52ND AVE N                   TD AMERITRADE CLEARING           CHARLES SCHWAB & CO INC CUST
ST PETERSBURG, FL 33714           CUSTODIAN                        1948 ELMSBURY RD
                                  PO BOX 39                        WESTLAKE VILLAGE, CA 91361
                                  MONUMENT, CO 80132

CHARLES P CUSUMANO 1992 TR        CHARLES SCHWAB BANK TTEE         CHARLES W DIER AND
CHARLES P CUSUMANO TTEE           FBO JEFFREY W WESSEL             LISETTE M DIER JTWROS
101 S FIRST ST # 400              3222 NW CHAPIN DR                106 BIRMINGHAM WALK
BURBANK, CA 91502                 PORTLAND, OR 97229               ALPHARETTA, GA 30004


CHARLES W HUNTER                  CHARLES WILLIAM NEUHAUSER        CHIEF A DOWNS ROTH IRA TD
WFCS CUSTODIAN ROTH IRA           CHARLES SCHWAB & CO INC CUST     AMERITRADE CLEARING
2958 CARRILLO WAY                 4 STABLE RD                      CUSTODIAN
CARLSBAD, CA 92009                TUXEDO PARK, NY 10987            7322 W 36TH ST
                                                                   TULSA, OK 74107
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CHRIS KRANZLER ROTH IRA TD       CHRISTIAN M WARREN &             CHRISTOPHER D EDWARDS
AMERITRAD                        BARBARA A BOIGEGRAIN JT TEN      CHARLES SCHWAB & CO INC CUST
INC CUSTODIAN                    2524 VIRGINIA LN                 PO BOX 4752
8000 W 32ND ST                   NORTHBROOK, IL 60062             FRISCO, CO 80443
SIOUX FALLS, SD 57106

CHRISTOPHER DAY                  CHRISTOPHER E BARRETT ROTH IRA   CHRISTOPHER J ADAMSKI
2112 BUCKSKIN CIR                JPMS LLC CUST.                   CHRISTINA B ADAMSKI
CARROLLTON, TX 75006             426 WHITING ST                   1571 RED STEM DR
                                 EL SEGUNDO, CA 90245             HOLLAND, MI 49424


CHRISTOPHER J CALLAGHAN          CHUN CHAN ROTH IRA TD            CRAIG CHLADNY
949 PALMER ROAD APT 2H           AMERITRADE INC                   210 E RIDGE RD
BRONXVILLE, NY 10708             CUSTODIAN                        EAST PEORIA, IL 61611
                                 2519 28TH AVE
                                 SAN FRANCISCO, CA 94116

CRAIG EDWARD REED &              CRAIG L WHITE                    CRAIG WAGNER BENEFICIARY IRA
SHANNON ELLIOTT REED JT/TIC      28851 DEODAR PL                  OF
4482 PARK PLACE TERRACE          SAUGUS, CA 91390                 SEBASTIAN WAGNER IRA
MARIETTA, GA 30066                                                17501 72ND PLACE
                                                                  MAPLE GROVE, MN 55311

CYNTHIA DAVID                    DALE H NORFOLK                   DALE SCHAEFER & DEBORAH
4682 WARNER AVE                  ANN M NORFOLK JT TEN             SCHAEFER JT
C113                             5345 BUENA VISTA RD              TEN
HUNTINGTON BEACH, CA 92649       PRINCE FREDERICK, MD 20678       8691 COOKS MILL RD
                                                                  GEORGETOWN, IN 47122

DAN CHIER                        DAN WILLEY SPALT                 DANIEL J FLEMING
19175 RIOUX GROVE CT             4 STONEHENGE LN.                 1531 JACKSON ST
NOBLESVILLE, IN 46062            APT. 11B                         HOLLYWOOD, FL 33020
                                 ALBANY, NY 12203


DANIEL M MARTIN                  DANNY L BACON ROLLOVER IRA TD    DANNY L BACON ROTH IRA TD
3112 KISDON HILL DRIVE           AMERITRADE CLEARING              AMERITRADE CLEARING
WAUKESHA, WI 53188               CUSTODIAN                        CUSTODIAN
                                 1801 N GREENVILLE AVE APT 3132   1801 N GREENVILLE AVE APT 3132
                                 RICHARDSON, TX 75081             RICHARDSON, TX 75081

DANNY LESHIKAR ROTH IRA TD       DAVE PONCIA                      DAVID CARUSO
AMERITRADE CLEARING              6819 ABBOTTSWOOD DR              4442 S 5TH ST
CUSTODIAN                        RANCHO PALOS VERDES, CA 90275    MILWAUKEE, WI 53207
1412 TELFORD DR
LIBERTY, MO 64068

DAVID CHICHESTER                 DAVID E LAMONTAGNE               DAVID HAMMOND SOYSTER
PO BOX 27                        3901 WHOOPING CRANE CR           18525 NE MARINE DR
LOWELL, OH 45744                 VIRGINIA BEACH, VA 23455         APT A7
                                                                  PORTLAND, OR 97230


DAVID KENNETH KELCHLIN           DAVID L JACOBS                   DAVID W. NORFOLK
13237 COLONIAL WOODS DR          335 LEE HILL DR.                 289 FIBICH LN
ALDEN, NY 14004                  BOULDER, CO 80302                WEST RIVER, MD 20778
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DAVID WAYNE THOMAS & JOANNE      DEBRA BETH STROUGO               DELFONDO HERRON &
LEIGH                            1755 YORK AVE APT 36B            MELINDA CHENAULT-HERRON
JAKUB THOMAS JT TEN              NEW YORK, NY 10128               JTWROS
223 N GUADALUPE ST                                                10425 S. MANSFIELD
SANTA FE, NM 87501                                                OAK LAWN, IL 60453

DELIA V LAZZARI                  DENISE M COLLINASH ROTH IRA      DEREK WOODWORTH
96 SCENIC DRIVE                  TD AMERITRADE CLEARING INC       5728 SILVERTON AVE
SOUTHINGTON, CT 06489            CUSTODIAN                        MCKINNEY, TX 75070
                                 1700 GALLUP RD
                                 CHAPEL HILL, NC 27517

DIANE K CARTER TR FBO            DIANE MATTHEW                    DMITRI PECHERSKI &
DIANE K CARTER LIVING TRUST      PO BOX 470                       LIUDMILA PECHERSKI JT TEN
3519 MALIBU COUNTRY DR           LAGUNITAS, CA 94938              5136 W TROTTER TRL
MALIBU, CA 90265                                                  PHOENIX, AZ 85083


DOROTHY ZIMMERMAN BENSON         DOROTHY ZIMMERMAN BENSON         DOUG KUHN & MARLAINA N KUHN
TTEE                             TTEE                             PO BOX 103
WILLIAM W&DOROTHY Z BENSON       WM/DOROTHY BENSON REV TRUST      606 LINCOLN
TRT                              101 EVERGREEN LN APT 145         VICTORIA, KS 67671
101 EVERGREEN LN APT 145         MERIDIAN VILLAGE, IL 62034
GLEN CARBON, IL 62034
DOUGLAS RICHARD LALLY            EDEN J. MACKNIN TRUST            EDMUND R T FLANIGAN
MARGARET SUSAN LALLY JT TEN      C/O: ELIZABETH A. CHEZ TRUSTEE   60 S GARFIELD ST
PO BOX 216                       2039 BURR OAK LANE               DENVER, CO 80209
CAMAS VALLEY, OR 97416           HIGHLAND PARK, IL 60035


EDUARD JAEGER                    EDWIN VANCE ROGERS ROLLOVER      ELIEZER S C AKERMAN
443 CONCORD ST                   IRA TD                           1020 DITMAS AVE
EL SEGUNDO, CA 90245             AMERITRADE CLEARING              BROOKLYN, NY 11218
                                 CUSTODIAN
                                 130 WEST RD
                                 BELTON, SC 29627
ELIZABETH CHEZ                   ELIZABETH ROSNER SILBER          ELIZABETH ROSNER SILBER
2039 BURR OAKS LANE              1138 PORTNER RD                  578 LORNA LANE
HIGHLAND PARK, IL 60035          ALEXANDRIA, VA 22314             LOS ANGELES, CA 90049



ELIZABETH SIENKOWSKI IRA         ELLEN DENISE MABRY               ELMER M WALLACE ROTH IRA
WFCS AS CUSTODIAN                CHARLES SCHWAB & CO INC CUST     303 ELM
1757 EAGLE DRIVE                 5203 WHITAKER CIR                VIDALIA, LA 71373
LAKE GENEVA, WI 53147            LONGVIEW, TX 75605


ERIC CARL HANSEN &               ERIC FREY                        ERIC J. CHEZ
TRACY LYNN HANSEN JT TEN         320 RENWOOD CIRCLE               1758 N. HONORE STREET
7620 2ND AVE W                   LAFAYETTE, LA 70503              CHICAGO, IL 60622
BRADENTON, FL 34209


ERIN O HALLISSY                  ERIN PLASTERAS                   ETHAN CRANE
IRA ETRADE CUSTODIAN             28 KIRKHAM PL                    123 W WARNIMONT AVE
20924 ARCANA RD                  STAMFORD, CT 06906               MILWAUKEE, WI 53207
WOODLAND HILLS, CA 91364
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FAISAL M ALMUTLAQ                FERNANDO JAUREGUI FBO            FERNANDO JAUREGUI FBO
OLAYA ST                         LUCAS JAUREGUI BENE              NATHAN JAUREGUI BENE
RIYADH 11565                     504 LARKHALL AVE                 504 LARKHALL AVE
SAUDI ARABIA, SAUDI ARABIA       DUARTE, CA 91010                 DUARTE, CA 91010


FMT CO CUST IRA                  FMT CO CUST IRA                  FMT CO CUST IRA
FBO JAMES A BREEN                FBO CRAIG STEPHEN WAGNER         FBO KIMIKO ANN SNYDER
167 STOCKADE RD                  10690 ZIEGLERS DR N              6118 BRAEMAR CT
S GLASTONBURY, CT 06073          MINNEAPOLIS, MN 55443            AGOURA HILLS, CA 91301


FMT CO CUST IRA                  FMT CO CUST IRA                  FMT CO CUST IRA
FBO THOMAS R MCELROY             FBO SACHIKO FARRELL              FBO SANFORD ROBERT PRICE
30950 MINUTE MAN WAY             191 S WOODROSE CT                911 AUGUSTA DR
WESTLAKE VILLAGE, CA 91361       ANAHEIM, CA 92807                BRENTWOOD, CA 94513


FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER
FBO DAVID WESSEL                 FBO MARK PUETZER                 FBO RONALD J SCHUETTE
36 GREGORY TER                   49 VIOLA DR                      3209 HUNTER PATH
BLOOMFIELD, NJ 07003             GLEN COVE, NY 11542              MCHENRY, IL 60050


FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER
FBO SUSAN R QUANTE               FBO KENNETH LAIBLE               FBO PAUL C KENDALL
3849 LOWER SAXTOWN ROAD          10973 SOUTHBURY LN               1250 NE LOOP 410 STE 203
WATERLOO, IL 62298               FRISCO, TX 75033                 SAN ANTONIO, TX 78209


FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER
FBO JAMES R PEARSON              FBO GASPAR C MIRANDA JR          FBO JUSTIN D WALKER
3726 W WHITEHAWK LN              23529 CARLOW RD                  107 ESPLANADE AVE APT 78
ANTHEM, AZ 85086                 TORRANCE, CA 90505               PACIFICA, CA 94044


FMT CO CUST IRA ROLLOVER         FMT CO CUST IRA ROLLOVER FBO     FMT CO CUST IRA SEPP
FBO GREGORY CURHAN               ALEX JIN                         FBO DOUGLAS S ROSE
7 VERONA PL                      NO 1030 WST YAN'AN ROAD          161 CHADWICK RD
CORTE MADERA, CA 94925           APARTMENT 36# 802                TEANECK, NJ 07666
                                 SHANGHAI 200050, CHINA 29414

FMT CO CUST SEPP IRA             FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA
FBO WILLIAM J LITWIN             FBO LESLIE C SCHUETTE            FBO RONALD J SCHUETTE
PO BOX 146                       3209 W HUNTER PATH               3209 HUNTER PATH
HINGHAM, MA 02043                MCHENRY, IL 60050                MCHENRY, IL 60050


FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA
FBO DOROTHY ZIMMERMAN            FBO JOSEPH POVERELLI JR          FBO JAMES P BENSON
BENSON                           2669 CHADWICK DR                 6553 BIG SKY TRL
101 EVERGREEN LN APT 145         FORT WORTH, TX 76131             CHEYENNE, WY 82009
GLEN CARBON, IL 62034

FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA
FBO JAMES P BENSON               FBO KIMBERLY D BENSON            FBO MARK WILLIAM BENSON
6553 BIG SKY TRL                 6553 BIG SKY TRL                 6553 BIG SKY TRL
CHEYENNE, WY 82009               CHEYENNE, WY 82009               CHEYENNE, WY 82009
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FMTC CUSTODIAN - ROTH IRA        FMTC CUSTODIAN - ROTH IRA         FMTC CUSTODIAN - SIMPLE
FBO JOSHUA LOUIS CAIN            FBO ROBERT C MICHLIN              FBO LISA CAROL DUDLEY
900 S FIGUEROA ST APT 1201       5846 NORWICH AVE                  117 MARQUIS CT
LOS ANGELES, CA 90015            SHERMAN OAKS, CA 91411            MATTHEWS, NC 28104


FORREST S FULFORD AND            FRANCESCA A MORAN                 FRANCIS J SKALECKI &
MARTHA FULFORD JTWROS            100 DEER RUN                      STEVEN A SKALECKI JT TEN
2202 58TH ST E                   PLANTSVILLE, CT 06479             3151 S LENOX ST
PALMETTO, FL 34221                                                 MILWAUKEE, WI 53207


FRED CATALANO                    G1 EXECUTION SERVICES LLC         GAIL MAHAFFEY
4 LLOYD HAVEN DRIVE              FIRM TRADING ACCOUNT              MIKE MAHAFFEY JT TEN
LLOYD HARBOR, NY 11743           175 W. JACKSON BLVD, SUITE 1700   116 DOGWOOD TERRACE LN
                                 CHICAGO, IL 60604                 CLEMSON, SC 29631


GARY BURTZLAFF                   GARY GIBBS                        GARY MICHAEL MANUSE
HELEN BURTZLAFF                  16610 CARROLL RD                  5975 PEASE RD
823 TURNBERRY DR                 MORRISON, IL 61270                WILLIAMSON, NY 14589
MANSFIELD, TX 76063


GARY W RADA                      GEMINI PARTNERS INC               GEORGE F GOTHOT
904 LUSTED LN                    1100 GLENDON AVE STE 905          CHARLES SCHWAB & CO INC CUST
BATAVIA, IL 60510                LOS ANGELES, CA 90024             31111 PLANTERS GROVE LN
                                                                   WESTLAKE, OH 44145


GEORGE F GOTHOT                  GEORGE F GOTHOT                   GEORGE F GOTHOT
CHARLES SCHWAB & CO INC CUST     CHARLES SCHWAB & CO INC CUST      31111 PLANTERS GROVE LN
31111 PLANTERS GROVE LN          31111 PLANTERS GROVE LANE         WESTLAKE, OH 44145
WESTLAKE, OH 44145               WESTLAKE, OH 44145


GEORGE K CROCKETT                GEORGE KARUTZ                     GLENN D BOLLINGER
VIRGINIA C CROCKETT              SEPERATE PROPERTY                 3025 N GREAT SOUTHWEST PKWY
137 BRANTON DR                   329 E SUNSET RD                   GRAND PRAIRIE, TX 75050
LAFAYETTE, LA 70508              SAN ANTONIO, TX 78209


GLENN R OAKES                    GREG CULLEN                       GREGORY CURHAN TTEE
4204 CYPRESS GROVE LANE          6641 ESPLANADE                    GREGORY & RANDI CURHAN REV
GREENSBORO, NC 27455             PLAYA DEL REY, CA 90293           TRU U/A 6/2/98
                                                                   7 VERONA PL
                                                                   CORTE MADERA, CA 94925

GREGORY J OHARA & SUSAN M        GREGORY W BATEMAN                 GUY W KEEFER
OHARA                            9094 MANDARIN LANE                7416 OGELSBY AVE
JTWROS                           RIVERSIDE, CA 92508               LOS ANGELES, CA 90045
4727 OAK ROAD
SHADY SIDE, MD 20764

HAMMAM ALSHAGRA                  HARVEY E GREEN TTEE               HEIDI JAEGER
5500 OWENSMOUTH AVE APT 126      HM GREEN FAMILY TRUST             CHARLES SCHWAB & CO INC CUST
WOODLAND HILLS, CA 91367         11550 LAURELCREST DR              26800 PACIFIC COAST HWY
                                 STUDIO CITY, CA 91604             MALIBU, CA 90265
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HEIDI JAEGER INH IRA             HEIDI JAEGER TTEE                 HUNTINGTON SMITH
BENE OF PEGGY JAEGER             HEIDI JAEGER LIVING TRUST         1052 HANCOCK MILL LN.
26800 PACIFIC COAST HWY          26800 PACIFIC COAST HWY           HEPHZIBAH, GA 30815
MALIBU, CA 90265                 MALIBU, CA 90265


IAN LANDGRAF                     ILYSE R. MARKRACK TRUST           IQBAL SINGH
19 E HULLWOOD CIR                C/O: ELIZABETH A. CHEZ TRUSTEE    3098 CLOVER ST
THE WOODLANDS, TX 77389          2039 BURR OAK LANE                PITTSFORD, NY 14534
                                 HIGHLAND PARK, IL 60035


J ROSNER & N ROSNER TTEE         JACK JACOB ROSNER                 JACOB YOUNG
J ROSNER & ROSNER FAMILY TRUST   578 LORNA LANE                    3008 S 45TH ST APT D
578 LORNA LANE                   LOS ANGELES, CA 90049             TACOMA, WA 98409
LOS ANGELES, CA 90049


JAKE R MEOTTEL                   JAMES CHADWICK ROTH IRA TD        JAMES D DARLING CUST
30183 VALLEY GLEN ST             AMERITRADE CLEARING               CARA D DARLING UNDER THE AZ
CASTAIC, CA 91384                CUSTODIAN                         2311 FLAT ROCK CT
                                 942 NW SCENIC LAKE DR             NAPERVILLE, IL 60564
                                 LAKE CITY, FL 32055

JAMES E COLLINS                  JAMES F RAFFERTY                  JAMES HUANG
27 BEAVER DAM RD                 1665 FAIRFAX AVE                  120 E MAIN ST APT 1912
COLTS NECK, NJ 07722             WEST ISLIP, NY 11795              LEXINGTON, KY 40507



JAMES M HALLISSY                 JAMES P BENSON TR UA 04-05-2001   JAMES P BENSON TTEE
R/O IRA E*TRADE CUSTODIAN        JAMES P BENSON LIVING TRUST       MARK BENSON QUALIFIED MINOR
20924 ARCANA ROAD                6553 BIG SKY TRL                  TR U/A 12/13/10
WOODLAND HILLS, CA 91364         CHEYENNE, WY 82009                6553 BIG SKY TRL
                                                                   CHEYENNE, WY 82009

JAMES P BENSON TTEE              JAMES P FRISCHE                   JANE SCHWARTZ
STEPHEN BENSON QUAL MINORS TR    702 VIA PALO LINDA                TOD
U/A 12/13/10                     FAIRFIELD, CA 94534               29 GRAND BAY CIR
6553 BIG SKY TRL                                                   JUNO BEACH, FL 33408
CHEYENNE, WY 82009

JANET HAEFEMEYER                 JASON G BARRETT                   JASON H HO
3711 W. GRANGE                   IRA R/O ETRADE CUSTODIAN          5 WHITTEMORE TER
GREENFIELD, WI 53221             3613 REGENCY                      BILLERICA, MA 01821
                                 DEER PARK, TX 77536


JASON M GIRARDIN                 JEANETTE A SWAN                   JEFF BURKEY
1830 S CALUMET PKWY UNIT A       143 W TRIPOLI AVE                 22 SANDPIPER LN
CHICAGO, IL 60616                MILWAUKEE, WI 53207               PITTSFORD, NY 14534



JEFF T HUBBARD                   JEFFREY D CORDES                  JEFFREY D CORDES AND
369 E CHERRY COVE                1570 BENT CREEK DRIVE             VALORIE LYNN CORDES JTWROS
ROUND LAKE BEACH, IL 60073       SOUTHLAKE, TX 76092               1570 BENT CREEK DR
                                                                   SOUTHLAKE, TX 76092
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JEFFREY ROBERT JONASEN &            JEFFREY STEIN PSP                JEFFREY WARREN WESSEL
SHELLY LEA JONASEN JT TEN           JEFFREY STEIN TTEE               3222 NW CHAPIN DR
3836 SERAMONTE DR                   4243 GREENWOOD                   PORTLAND, OR 97229
HIGHLANDS RANCH, CO 80129           SKOKIE, IL 60076


JENNIFER COOPER & CARYL COOPER      JERRY D CRAWFORD                 JERRY W WILEY
JT                                  5692 VESTAL LN                   102 W ALLEN ST
TEN                                 HONOLULU, HI 96818               IRVINGTON, NJ 07111
1867 SPRUCE ST.
HIGHLAND PARK, IL 60035

JERRY WILEY TR FBO 133              JILL CHRISTINE BRUNNER           JIMMY E ALLEN
MONTICELLO AV                       1007 LINCOLN BLVD APT 2          1849 EAST 5775 SOUTH
LIMITED LIABILITY IND 401K FBO      SANTA MONICA, CA 90403           SOUTH OGDEN, UT 84403
JERRY WILEY
2 RIVER RUN
LAWNSIDE, NJ 08045
JOAN HOOD JONES TR UA 11-30-2012]   JOAN M TRIEFF                    JOEL CAVNESS
JOAN HOOD JONES LIVING TRUST        778 BRANDENBURG DRIVE            2509 SUTHERLAND ST
853 3RD ST                          CHASKA, MN 55318                 AUSTIN, TX 78746
MANHATTAN BEACH, CA 90266


JOHN CHRISTOPHER ZOTT               JOHN COLLINASH IRA               JOHN D & MARGARET A ROGERS
CHARLES SCHWAB & CO INC CUST        TD AMERITRADE CLEARING INC       TTEE
211 DARWIN ST                       CUSTODIAN                        J D AND M A ROGERS REVOC TRUST
SANTA CRUZ, CA 95062                1700 GALLUP RD                   U/A 4/26/00
                                    CHAPEL HILL, NC 27517            5660 ROLLING OAK DR
                                                                     SACRAMENTO, CA 95841
JOHN E WHITSETT                     JOHN H FREEMAN                   JOHN HOPPE
203 HASKIN DRIVE                    CHAIA K FREEMAN COMM PROP        740 W. FULTON ST. APT 809
SAN ANTONIO, TX 78209               20520 BLAIRMOORE ST              CHICAGO, IL 60661
                                    CHATSWORTH, CA 91311


JOHN JAMES DARNELL                  JOHN L EGGERS                    JOHN LERCH
500 NORTH CROFT AVE                 216 39 ST E                      409 IVY CHURCH RD
W HOLLYWOOD, CA 90048               BRADENTON, FL 34208              TIMONIUM, MD 21093



JOHN MARSHALL                       JOHN PATRICK MCGOWAN             JOHN R FAIRTY JR
SHIRLEY MARSHALL JT TEN             170 SISKIYOU CT                  617 RIVERSVILLE RD
2826 WOODSPRING ACRES DR            SAN BRUNO, CA 94066              GREENWICH, CT 06831
KINGWOOD, TX 77345


JOHN RICHARD BOLTON II              JOHN THOLLON                     JONATHAN CASTILLO ROTH IRA TD
NANCY ELAINE BOLTON JT TEN          300 E 40TH ST APT 29A            AMERITRADE CLEARING
21069 GERTRUDE AVE                  NEW YORK, NY 10016               CUSTODIAN
PORT CHARLOTTE, FL 33952                                             9807 VENICE BLVD
                                                                     LOS ANGELES, CA 90034

JORGE L NICHO                       JOSE BERNAL                      JOSEPH BEIERLE TTEE
9611 HOLLOW BND                     40 LION LN                       THE BEIERLE FAMILY TRUST U/A
SAN ANTONIO, TX 78250               WESTBURY, NY 11590               03/26/93
                                                                     423 NEWCASTLE ST
                                                                     THOUSAND OAKS, CA 91361
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JOSEPH C MAZZOCHI                JOSEPH ROSNER AND NANCY BETH      JOSHUA CRINKLAW
10 CANDLEWOOD LANE               ROSNER TTEES                      736 F AVE UNIT 4
FARMINGTON, CT 06032             THE ROSNER FAMILY TRUST DTD 02-   CORONADO, CA 92118
                                 07-90
                                 578 LORNA LANE
                                 LOS ANGELES, CA 90049
JOSHUA S LOWER C/F               JUDY FRANK TTEE                   JUSTIN W BALDWIN
JACOB C LOWER UTMA/IL            FRANK FAMILY TRUST DTD 06-08-09   796 COURT ST
39W359 W HALADAY LANE            641 POR LA MAR CIRCLE, UNIT A     UNIT C
GENEVA, IL 60134                 SANTA BARBARA, CA 93103           KEENE, NH 03431


KAREN BURKE                      KATHLEEN BRENNAN &                KATHLEEN DEFRONZO
6 MILFORD LN                     MICHAEL H STEINBERGER JTWROS      4800 WOODLEY AVE APT 8
GLEN COVE, NY 11542              14 ARTHUR DRIVE                   ENCINO, CA 91436
                                 HOCKESSIN, DE 19707


KATHY PETROHILOS ROTH IRA        KEITH C VERWOEST &                KEITH COLIN VERWOEST
TD AMERITRADE CLEARING INC       ANNALOUISE JAEGER JTWROS          532 PAUMAKUA PL
CUSTODIAN                        532 PAUMAKUA PL                   KAILUA, HI 96734
497 SPRINGS DR                   KAILUA, HI 96734
COLUMBUS, OH 43214

KELLY J PORRAS                   KENNETH JOSEPH LAIBLE CUST FOR    KENNETH O HAACK
5080 WOODLAND AVE                DYLAN WAYNE LAIBLE UTXUTMA        330 E TOWNSHIP ROAD 150
YORBA LINDA, CA 92887            10973 SOUTHBURY LANE              TIFFIN, OH 44883
                                 FRISCO, TX 75033


KENT ASTLE                       KENT D MILLER                     KENT M ROBINS
5098 ROBERTS DR                  IRA ETRADE CUSTODIAN              ALLISON A ROBINS
THE COLONY, TX 75056             705 ILLNI DRIVE                   17207 103RD ST SE
                                 EAST PEORIA, IL 61611             YELM, WA 98597


KENT SIMON                       KEVIN BOJONNY ROTH IRA TD         KEVIN COOPER
576 E 48TH ST                    AMERITRADE CLEARING               ROTH IRA ETRADE CUSTODIAN
BROOKLYN, NY 11203               CUSTODIAN                         2106 FLAMINGO
                                 314 JOHN DUKE TYLER BLVD.         SAN ANTONIO, TX 78209
                                 CLARKSVILLE, TN 37043

KEVIN DELIMAT                    KEVIN R THIER                     KEVIN W MARSH
4829 RIVERSIDE DR                2817 KENSINGTON RD                DESIGNATED BENE PLAN/TOD
WATERFORD, WI 53185              MELBOURNE, FL 32935               1207 MARBLE FALLS CT
                                                                   ALLEN, CT 75013


KIMBERLY D BENSON TTEE           KIMBERLY D BENSON TTEE            KIRK B MOORE
KIMBERLY D BENSON TRUST U/A      KIMBERLY DROSTEN BENSON EXE       7614 MACON DR.
4/5/01                           TR U/A 8/22/83                    BILOXI, MS 39532
6553 BIG SKY TRL                 6553 BIG SKY TRL
CHEYENNE, WY 82009               CHEYENNE, WY 82009

KLEANTHI XENOPOULOS              KRIS PAOLINO                      KRISTI L DELAGE &
1265 15TH ST APT 9C              IRA R/O ETRADE CUSTODIAN          GEORGE A DELAGE JTWROS
FORT LEE, NJ 07024               2591 RED HAWK RIDGE DR            25856 185TH AVENUE SW
                                 CASTLE ROCK, CO 80109             CROOKSTON, MN 56716
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KURT MATTHEW RIEBACK             KYLE J WALKER                    KYLE S MCDORMAN
19237 ITASCA ST                  7 ALEXANDER DR                   8155 CIRCLE DR
NORTHRIDGE, CA 91324             BROOKFIELD, CT 06804             DAYTON, OH 45415



LARRY BARTHEN                    LARRY D MARTIN                   LAURA B PANNIER
218 N CHARLES ST                 TOD                              629 WOODBOURNE TRAIL
WAUKESHA, WI 53186               18249 N 39TH AVE                 DAYTON, OH 45459
                                 GLENDALE, AZ 85308


LAWRENCE ORNE                    LEON BEDROS                      LEONARD JEAN-PAUL
DIANE L ORNE JT TEN              1120 SUN FLARE CT                69333 E PALM CANYON DR SPC 130
161 UNION ST                     LINCOLN, CA 95648                CATHEDRAL CITY, CA 92234
LEOMINSTER, MA 01453


LEONIE M BRITTON                 LIANE LUNNY NEUHAUSER            LLOYD F KAWAKAMI
2543 BEDFORD AVE                 4 STABLE RD                      IRA CONTRIBUTORY DTD 02/10/91
BROOKLYN, NY 11226               TUXEDO PARK, NY 10987            2812 KAHAWAI ST
                                                                  HONOLULU, HI 96822


LOIS B MAY TTEE                  LONNIE & BARBARA A MURRAY        LORENA GUENY
LOIS B. MAY REVOCABLE TRUST      TTEE                             3141 S LENOX ST
3919 WESTFALL DR                 THE MURRAY FAMILY REVOCABLE      MILWAUKEE, WI 53207
ENCINO, CA 91436                 TR
                                 214 WESTWIND HARBOUR DR
                                 ANDERSON, SC 29626
LYNN T RINDERLE                  M DIGREGORIO & A DIGREGORIO TT   MARA ROSNER KEDEM CUST FOR
3148 S PINE AVE                  DIGREGORIO REVOCABLE TRUST       GABRIEL EITAN KEDEM UNYUTMA
MILWAUKEE, WI 53207              1420 KINGSBORO CT                70 E 10TH ST APT 5E
                                 THOUSAND OAKS, CA 91362          NEW YORK, NY 10003


MARCIA A. ORCUTT                 MARCIA TSABARY ROLLOVER IRA      MARCUS M WRIGHT
3221 N SAN SEBASTIAN PL          TD                               NDAZIONA E NDAFOOKA JT TEN
TUCSON, AZ 85715                 AMERITRADE CLEARING              704 W BADGER RD 21
                                 CUSTODIAN                        MADISON, WI 53713
                                 NACHAL SOREK 12/11
                                 BEIT SHEMESH, ISRAEL 99091
MARK A AARDSMA & JENNIFER F      MARK D STOKES JR &               MARK JUETTEN
AARDSMA                          DIANE P STOKES                   JANE E JUETTEN JT TEN
JT TEN                           1033 SUNNYSIDE DR                628 WATERS EDGE TER
2107 EMERALD DR                  SOUTH SAN FRANCISCO, CA 94080    MENDOTA HEIGHTS, MN 55120
CHAMPAIGN, IL 61822

MARK PUETZER                     MARK PUETZER CUST                MARK R GOSMAN
6 MILFORD LN                     MICHAEL PUETZER                  DONNA GOSMAN JTTEN
GLEN COVE, NY 11542              49 VIOLA DR                      7483 KORBEL DR
                                 GLEN COVE, NY 11542              GURNEE, IL 60031


MARK S PUETZER                   MARK V MULLER                    MARK VAYDA RICKABAUGH
49 VIOLA DRIVE                   VICTORIA MULLER                  CHARLES SCHWAB & CO INC CUST
GLEN COVE, NY 11542              9723 DOVE SHADOW                 PO BOX 1668
                                 SAN ANTONIO, TX 78230            BOCA GRANDE, FL 33921
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MARSHA K GRANT                   MARTIN H. SZUCS                  MARY C COURTNEY TTEE
158 STRATFORD N                  220 E.HOLT AVE.                  U/A DTD 05/02/2017
ROSLYN HEIGHTS, NY 11577         MILWAUKEE, WI 53207              30W023 JUNIPER COURT
                                                                  WARRENVILLE, IL 60555


MARY PAULETTE SMYTH              MATRIX TRUST COMPANY             MATTHEW D GILES
34 CHERRY ST                     FBO SCOTT ALDERTON               1916 BUNDT ST
GLEN HEAD, NY 11545              19687 LOS ALIMOS STREET          NORTON SHORES, MI 49441
                                 CHATSWORTH, CA 91311


MATTHEW DAVID VAN AHN TOD        MATTHEW J ROTTINO                MATTHEW JOSEPH ROTTINO ROTH
SUBJECT TO STA TOD RULES         152 SAINT ANDREWS LN             IRA
6308 LOGAN AVE S                 GLEN COVE, NY 11542              TD AMERITRADE CLEARING INC
RICHFIELD, MN 55423                                               CUSTODIAN
                                                                  152 SAINT ANDREWS LN
                                                                  GLEN COVE, NY 11542
MATTHEW PALMER LAUBERT           MATTHEW PALMER LAUBERT           MATTHEW T BRUSOE
CHARLES SCHWAB & CO INC CUST     CHARLES SCHWAB & CO INC CUST     1118 BRANLEIGH DR
3201 PECAN MEADOW DR             3201 PECAN MEADOW DR             TOLEDO, OH 43612
GARLAND, TX 75040                GARLAND, TX 75040


MELINDA WOOD MICHLIN             MELISSA ANN DOMINIAK             MICHAEL C TAYLOR CONWAY II &
DESIGNATED BENE PLAN/TOD         19 WINDEMERE CT NW               MEGAN RAE CONWAY JT TEN
5846 NORWICH AVE                 FT WALTON BCH, FL 32547          853 W Blue Ridge Dr.
SHERMAN OAKS, CA 91411                                            Queen Creek, AZ 85140


MICHAEL J ANDREWS                MICHAEL J LANDAU                 MICHAEL JACEJKO ROTH IRA TD
135 SHERWOOD LANE                DESIGNATED BENE PLAN/TOD         AMERITRADE CLEARING
RAYNHAM, MA 02767                23662 INGOMAR ST                 CUSTODIAN
                                 WEST HILLS, CA 91304             8163 SEHOME RD
                                                                  BLAINE, WA 98230

MICHAEL L LOYD                   MICHAEL LEWIS POCZA              MICHAEL M LEW IRA
STEPHANIE R LOYD                 5371 WILDWOODS DR.               TD AMERITRADE CLEARING INC
2728 GALAXIE                     ROCK CREEK, OH 44084             CUSTODIAN
BARTLETT, TN 38134                                                11311 AUDELIA RD, APT 167
                                                                  DALLAS, TX 75243

MICHAEL R CICERO                 MICHAEL R SUNDLING &             MICHAEL S BORSETI
WILLIAM M VEAZEY                 LISA M SUNDLING JTWROS           4 RICHARDS RD
7 SOUTH ST                       451 E. 134TH AVENUE              LYNNFIELD, MA 01940
YORK, ME 03909                   THORNTON, CO 80241


MICHAEL SPOSATO                  MICHAEL W AZZARELLO              MICHELE A BELTRAN SELL
IRENA SPOSATO JT TEN             615 BAHNS MILL RD                PO BOX 853
950 NE 27TH AVE                  RED LION, PA 17356               SANTA BARBARA, CA 93102
POMPANO BEACH, FL 33062


MIKE J ANDREWS SEP IRA TD        MILES N GREEN AND                MILES POTEAT EGGART
AMERITRADE CLEARING              GREEN FAMILY REVOCABLE LIVING    4401 WESTWAY AVE
CUSTODIAN                        TRUST DTD 08-13-97               DALLAS, TX 75205
135 SHERWOOD LN                  3218 ROXANNE AVE
RAYNHAM, MA 02767                LONG BEACH, CA 90808
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MILLENNIUM TRUST COMPANY LLC     MILWAUKEE DEF COMP BOARD TTEE    MILWAUKEE DEF COMP BOARD TTEE
2001 SPRING ROAD SUITE 700       FBO BURNELL YOUNG                FBO THEOFILOS RAFAELIDYS
OAK BROOK, IL 60523              2502 W CHAMBERS ST               2742 N BARTLETT AVE
                                 MILWAUKEE, WI 53206              MILWAUKEE, WI 53211


MILWAUKEE DEF COMP BOARD TTEE    MILWAUKEE DEF COMP BOARD TTEE    MIRIAM HERRERA
FBO MICHAEL J DORSZYNSKI         CITY OF MILWAUKEE FBO STEVEN A   1621 E EDEN PL
2787 S 58TH ST                   SKALECKI                         SAINT FRANCIS, WI 53235
MILWAUKEE, WI 53219              9026 W BURDICK AVE
                                 MILWAUKEE, WI 53227

MORRIS AKERMAN & SUSAN           MR ROBERTO T VERTHELYI           NAOMI S BROWAR
AKERMAN TEN                      TOD BENEFICIARIES ON FILE        425 SAYRE DR.
COM                              PO BOX 1922                      PRINCETON, NJ 08540
1525 41ST ST                     NEW YORK, NY 10101
BROOKLYN, NY 11218

NELSON JOHN ANDERSON             NELSON JOHN ANDERSON             NFS/FMTC IRA
CHARLES SCHWAB & CO INC CUST     CHARLES SCHWAB & CO INC CUST     FBO PHILIP WERTHMAN
260 S ORANGE DR                  260 S ORANGE DR                  9737 KIRKSIDE RD
LOS ANGELES, CA 90036            LOS ANGELES, CA 90036            LOS ANGELES, CA 90035


NICHOLAS KAWAKAMI                NICHOLAS R LASSITER              NICHOLAS S EVANS &
1234 KONA ST.                    3375 DONDIS CREEK DR             MARI E MONTGOMERY & ROBERT L
HONOLULU, HI 96814               TRIANGLE, VA 22172               EVANS JT TEN
                                                                  PO BOX 440
                                                                  HEALY, AK 99743

NICHOLAS SCHLEPP                 NICK S GUGLIELMETTI              NIMLEY S TABUE ROTH IRA
10428 KILCHURN CT                157 WASHINGTON AVE               3207 67TH AVE
CHARLOTTE, NC 28277              KINGSTON                         BROOKLYN CENTER, MN 55429
                                 NEW YORK, NY 12401


OTA MANAGEMENT VBO VFTC AS       OWEN BENNETT MULLER              PABLO E QUEZADA
TRUSTEE                          3919 WESTFALL DR                 146 SEWARD ST
FBO JOHN P HEFFERNAN JR          ENCINO, CA 91436                 BUCHANAN, NY 10511
64 BETSY BROWN CIR
PORT CHESTER, NY 10573

PATRICIA A DUKE                  PATRICIA LYNNE JOHNSON           PATRICK D JUETTEN ROTH IRA
3132 S. TAYLOR AVE               1505 CORINTH AVE APT 105         TD AMERITRADE CLEARING INC
MILWAUKEE, WI 53207              LOS ANGELES, CA 90025            CUSTODIAN
                                                                  238 PENINSULA RD
                                                                  MEDICINE LAKE, MN 55441

PATRICK D WALSH                  PATRICK H NELSON TTEE            PATRICK LIN
SEP IRA E*TRADE CUSTODIAN        THE DIANNE NELSON DECEDENT'S     45 COACHWOOD TER
1623 E HEMINGWAY DR              12017 SE MASA LN                 ORINDA, CA 94563
N PALM BEACH, FL 33408           HAPPY VALLEY, OR 97086


PATRICK M ROGERS                 PATRICK W COYLE                  PAUL STRIGLER
2119 POST RD                     602 S CHURCH                     IRA VFTC AS CUSTODIAN
DARIEN, CT 06820                 APT 4                            35 WELLESLEY ST
                                 BOZEMAN, MT 59715                WESTON, MA 02493
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PETER JAMES BENIGNO             PHILIP PATON & LESLIE PATON JT   PHILIP SHAWN NORFOLK
MICHELE BENIGNO JT TEN          TEN                              8005 ABBOT CT
22 MANITOBA WAY                 615 THRIFT RD                    MCKINNEY, TX 75070
MARLBORO, NJ 07746              MALIBU, CA 90265


PHILLIP NUTTER                  PRESTON SOECHTING                PROGUARD GUARDIAN SVCS GUARD
LYNNE M NUTTER                  8103 DOZIER PLACE                CAROL A HERGET
7017 W BRANHAM LN               BRENTWOOD, TN 37027              13160 W BURLEIGH RD STE 206
LAVEEN, AZ 85339                                                 BROOKFIELD, WI 53005


PTC CUST IRA FBO                PTC CUST ROLLOVER IRA FBO        PUMA CAPITAL LLC
ALFRED M VENTURINI              MICAHEL A SHERMAN                M/M ACCOUNT - KOSSON
7101 DEL RIO DRIVE              211 S. SPALDING DR PH4N          287 BOWMAN AVENUE 3RD FLOOR
MODESTO, CA 95356               BEVERLY HILLS, CA 90212          PURCHASE, NY 10577


RANDY SCHREINER                 RAYMOND CHAVEZ                   REGINA CARLSON CUST FOR
305 CHERRY BLOSSOM LN           20954 VANOWEN ST 110             KAMRYN CARLSON
CAREY, OH 43316                 CANOGA PARK, CA 91303            5301 PINEWOOD TRL
                                                                 MINNEAPOLIS, MN 55436


REX H LEVI                      REX H LEVI                       RF LAFFERTY & CO INC
R/O IRA E*TRADE CUSTODIAN       30446 SIMES LANE                 ATTN EZRA GRAYMAN
30446 SIMES LANE                AGOURA, CA 91301                 40 WALL STREET SUITE 1901
AGOURA, CA 91301                                                 NEW YORK, NY 10005


RICHARD D JOHNSON               RICHARD DARIN MELTON &           RICHARD ERVIN TEN HAKEN TTEE
26227 COMMUNITY BLVD            RACHAEL MICHELLE MELTON          ESTATE OF RICHARD E TEN HAKEN
BARSTOW, CA 92311               197 RAINBOW DR # 9707            4216 DEL MAR VILLAGE DR SW
                                LIVINGSTON, TX 77399             GRANDVILLE, MI 49418


RICK L MILLER                   RITA J GRAYBILL                  ROBB C KRUG JR
TD AMERITRADE CLEARING          801 W PINE ST                    SOLE & SEPARATE PROPERTY
CUSTODIAN                       STILLWATER, MN 55082             1708 FAIRHAVEN LN
25530 LONGFELLOW PL                                              MURFREESBORO, TN 37128
STEVENSON RANCH, CA 91381

ROBERT ANTHONY MACKIE           ROBERT B GIFFIN & MARY FRANCIS   ROBERT B KRONMAN
102 BELCHER RD                  GIFFIN JT TEN                    8607 TUSCANY AVE APT 105
WARWICK, NY 10990               4608 46TH ST NW                  PLAYA DEL REY, CA 90293
                                WASHINGTON, DC 20016


ROBERT BURKE FORSTER            ROBERT BURKE FORSTER             ROBERT D HERGET
4144 249TH ST                   CHI WANG JT TEN                  3620 OAK VALLEY LANE
LITTLE NECK, NY 11363           4144 249TH ST                    WAUKESHA, WI 53188
                                LITTLE NECK, NY 11363


ROBERT FORD ERZEN               ROBERT FORSTER                   ROBERT GLENN COULTER
3160 N LINCOLN AVE              4144 249TH ST                    3786 E COUNTY ROAD 100 N
UNIT 207                        LITTLE NECK, NY 11363            DANVILLE, IN 46122
CHICAGO, IL 60657
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ROBERT GUILFORD                  ROBERT J KERR                    ROBERT JAMES STECKLER
4916 BALTIC ST NW                42 PARK                          3000 TRADEWIND DR
GIG HARBOR, WA 98332             LA GRANGE, IL 60525              SPICEWOOD, TX 78669



ROBERT T LEVINE                  ROBERT WILLIAMS                  ROBYN CROWDER
18 NEWPORT DR                    1461 ROBERTSON RD                9155 STERLING ST STE 120
PLAINVIEW, NY 11803              FRIENDSHIP, TN 38034             IRVING, TX 75063



RODNEY G WHITE                   RONALD D SMITH                   RONALD J SCHUETTE TTEE
4364 BITTERROOT DR               10107 HEATHERWAY DR              RONALD JAMES SCHUETTE TRUST
WESTERVILLE, OH 43081            PINCKNEY, MI 48169               3209 W HUNTER PATH
                                                                  MCHENRY, IL 60050


RONALD L CHEZ                    RONALD L HANZLICEK &             RONALD L. CHEZ
1524 NORTH ASTOR                 THERESA MAUREEN HANZLICEK JT     1524 N ASTOR PLACE
CHICAGO, IL 60610                TEN                              CHICAGO, IL 60610
                                 1004 DEVON DRIVE
                                 PAPILLION, NE 68046

RONALD ROBERT BIANCULLI          RONNIE VAUGHN                    RUSSELL J SILVER
3541 LONGVIEW DR                 5308 GREEN TREE BLVD             CHARLES SCHWAB & CO INC CUST
SAN BRUNO, CA 94066              MIDLAND, TX 79707                1553 DICKINSON DR
                                                                  ROSEVILLE, CA 95747


RUSSELL P FOGG                   RUSSELL S CAZEAULT               RYAN BROTHERS
521 SUMMIT WAY                   2071 MAIN STREET                 14720 SW BEARD RD APT 202
MOUNT JULIET, TN 37122           BREWSTER, MA 02631               APARTMENT 202
                                                                  BEAVERTON, OR 97007


RYAN KRAUSE                      RYAN RONALD BIANCULLI            SANDRA M LESHIKAR ROLLOVER
PO BOX 481112                    3541 LONGVIEW DR                 IRA TD
LOS ANGELES, CA 90048            SAN BRUNO, CA 94066              AMERITRADE CLEARING
                                                                  CUSTODIAN
                                                                  1412 TELFORD DR
                                                                  LIBERTY, MO 64068
SCOTT ALLEN FAULKNER ROTH IRA    SCOTT BRADLEY SAKAJIAN           SCOTT JARUS &
TD                               26893 BOUQUET CANYON RD          REBECCA D JARUS TIC
AMERITRADE CLEARING              SUITE C456                       938 DUNCAN AVENUE
CUSTODIAN                        SANTA CLARITA, CA 91350          MANHATTAN BEACH, CA 90266
185 SAINT JAMES DR
LEXINGTON, KY 40502
SCOTT M LAPOFF                   SCOTT NICOLICH                   SCOTT WAYNE IRELAND
79 MOUNTAIN AVE - TALL AVE       14 PROSPECT AVE                  CHARLES SCHWAB & CO INC CUST
SUMMIT, NJ 07901                 GLEN COVE, NY 11542              2007 INDIANA ST
                                                                  HOUSTON, TX 77019


SCOTT WAYNE IRELAND &            SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO
KRISTINA MARIE IRELAND JT TEN    RUDOLPH ROSENBERG INHERITED IR   ALIX KATELYNN ROYSTON ROTH
2007 INDIANA ST                  76 TITUS AVE                     IRA
HOUSTON, TX 77019                CARLE PLACE, NY 11514            5671 CALEDONIA DRIVE
                                                                  SALISBURY, MD 21801
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SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO
JOHN E MORDUS IRA                KENNETH KLEIN IRA                BRIAN KNAPP ROLLOVER IRA
11882 HIAWATHA                   126 SIOUX AVE                    4128 N CLEARBROOK PLACE
SHELBY TOWNSHIP, MI 48315        CARPENTERSVILLE, IL 60110        MERIDIAN, ID 83642


SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO
ALECIA M KNAPP ROLLOVER IRA      JASON PAUL GIL ROTH IRA          TROY C ZEITLER ROLLOVER IRA
4128 N CLEARBROOK PL             5103 MIRADA DR NW                830 LONG VALLEY RD
MERIDIAN, ID 83646               ALBUQUERQUE, NM 87120            GARDNERVILLE, NV 89460


SCOTTRADE INC CUST FBO           SCOTTRADE INC CUST FBO           SEAN CHRISTOPHER BAILEY
DIANE MATTHEW IRA                THU PHONG PHAN ROTH IRA          4396 HARTER RD
PO BOX 470                       1520 E CAPITOL EXPY SPC 238      AUBURN, NY 13021
LAGUNITAS, CA 94938              SAN JOSE, CA 95121


SEAN S MATSUBAYASHI              SHAMSHA VELANI DORAN &           SHAMSHA VELANI DORAN CUST FOR
5723 MISSION ST # B              KEITH DORAN                      LAYTH EMANUEL DORAN UCAUTMA
SAN FRANCISCO, CA 94112          2151 SELBY AVENUE                2151 SELBY AVENUE
                                 LOS ANGELES, CA 90025            LOS ANGELES, CA 90025


SHANA A. LARSON                  SHARON R TAYSI                   SHAWN P RICHARDS
1312 PALM AVE                    608 KIEFER CREEK RD              15 CHAPMAN RD
SAN MATEO, CA 94402              BALLWIN, MO 63021                MARLBOROUGH, CT 06447



SIDNEY PENCHANSKY & JUDITH E     SOON FONG RACHAEL YAP            SSBT TTEE SUPPLY ONE 401K PLAN\
PENCHANSKY TTEES                 JURONG WEST ST 71 BLK 714        FBO MARK STEVEN MCARTHUR
PENCHANSKY FAMILY TR UA DTD      UNIT 04-127                      215 N EASTERN SLOPE LOOP
6/23/1997                        SINGAPORE, SN 64071              TUCSON, AZ 85748
37 BREEZE AVE
VENICE, CA 90291
STACY K WYENT                    STEPHAN D. FEDEA & SUZANNE       STEPHANIE L QUANTE
ROTH IRA E*TRADE CUSTODIAN       6836                             IRA VFTC AS CUSTODIAN
29 GOLF AVE.                     FEDEA JTWROS                     670 W WAYMAN ST APT 1301
CLARENDON, IL 60514              1843 W. SCHOOL ST.               CHICAGO, IL 60661
                                 CHICAGO, IL 60657

STEPHANIE LANE WHEELER           STEPHEN M RAUH &                 STEPHEN BEREZA
1400 WILLOW AVE APT 803          ROBIN R RAUH JTWROS              107 ORION WAY
LOUSVILLE, KY 40204              1232 LAKE ROAD                   BRANCHBURG, NJ 08853
                                 WEBSTER, NY 14580


STEPHEN G BALLARD                STEPHEN M FOX &                  STEPHEN M RAUH
40 26TH PL APT 205               JENNIFER L FOX JTWROS            IRA R/O ETRADE CUSTODIAN
SAN MATEO, CA 94403              305 CAMP HILL RD                 1232 LAKE ROAD
                                 FORT WASHINGTON, PA 19034        WEBSTER, NY 14580


STEVE WANG IRA                   STEVEN A SKALECKI &              STEVEN A SKALECKI ROTH IRA
TD AMERITRADE CLEARING           FRANCIS SKALECKI JT TEN          WFCS AS CUSTODIAN
CUSTODIAN                        9026 W BURDICK AVE               9026 W BURDICK AVE
405 N WABASH AVE APT 515         MILWAUKEE, WI 53227              MILWAUKEE, WI 53227
CHICAGO, IL 60611
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STEVEN ANTHONY SIENKOWSKI        STEVEN C LEIBIG                  STEVEN CARL STREBEL ROLLOVER
ROTH IRA                         359 POPLAR VALLEY RD W           IRA
TD AMERITRADE CLEARING           STROUDSBURG, PA 18360            TD AMERITRADE CLEARING INC
CUSTODIAN                                                         CUSTODIAN
150 S MIDDLE NECK RD APT 1A                                       1421 PANORAMA ST
GREAT NECK, NY 11021                                              UPLAND, CA 91784
STEVEN D CUNNINGHAM              STEVEN GOLUB TOD                 STEVEN W VAJDAK
4500 S FOUR MILE RUN #515        SUBJECT TO STA TOD RULES         1714 CONCORD ST
ARLINGTON, VA 22204              10N DORADO DR                    DEER PARK, TX 77536
                                 MORRISTOWN, NJ 07960


STUART M MAHAFFEY                SUE M. GLICK                     SUE M. GLICK
11 KENSINGTON BLVD               1565 MEADOW LANE                 1565 MEADOW LANE
BLUFFTON, SC 29910               BURLINGAME, CA 94010             BURLINGAME, CA 94010



SUSAN C CULLEN                   SUSAN R QUANTE                   SUSAN R QUANTE
18300 BUCK LAKE CIR              IRA VFTC AS CUSTODIAN            3849 LOWER SAXTOWN RD
PRIOR LAKE, MN 55372             3849 LOWER SAXTOWN RD            WATERLOO, IL 62298
                                 WATERLOO, IL 62298


SUSAN VITTNER                    TAYLOR F WOOD                    TCR SOLUTIONS INC
ROTH IRA VFTC AS CUSTODIAN       2149 WANTAGH PARK DRIVE          CHRIS L COMPTON PRES
100 DEERFIELD RD # 1             WANTAGH, NY 11793                4560 E BROADWAY BLVD STE 226
PORTLAND, ME 04101                                                TUCSON, AZ 85711


TERENCE LEE KEMEN ROTH IRA       TERRY JACKSON                    TERRY JACKSON TTEE
TD AMERITRADE CLEARING           DESIGNATED BENE PLAN/TOD         REEL ACTION 401(K) PROFIT SHAR
CUSTODIAN                        PO BOX 18077                     PO BOX 18077
173 MCKNIGHT RD N, APT 101       BEVERLY HILLS, CA 90209          BEVERLY HILLS, CA 90209
SAINT PAUL, MN 55119

TERRY L KIEVIT                   TESS ELLYN GAYHART               THE DORSEY REVOCABLE TRUST
JUDITH M KIEVIT JT TEN           2242 GUTHRIE CIRCLE              UAD 11/26/2001
4525 S 1ST ST                    LOS ANGELES, CA 90034            P O BOX 284
KALAMAZOO, MI 49009                                               MURPHYS, CA 95247


THEOFILOS ANDREAS RAFAELIDYS     THOMAS C MARTIN IRA              THOMAS E KREIG JR
2742 N BARTLETT AVE              TD AMERITRADE CLEARING           TOD
MILWAUKEE, WI 53211              CUSTODIAN                        1751 9TH ST
                                 3112 KISDON HILL DRIVE           MANHATTAN BEACH, CA 90266
                                 WAUKESHA, WI 53188

THOMAS R EDWARDS                 THREE BROTHERS DBA               TIM C TRACY
1008 S COLLEGE AVE               ALTERNATIVE EXECUTIONS           CHARLES SCHWAB & CO INC CUST
GREENCASTLE, IN 46135            MARKET MAKER O'DONNELL           2250 E RAGUSA LN
                                 708 3RD AVE 5TH FLOOR STE 110    MERIDIAN, ID 83642
                                 NEW YORK, NY 10017

TIMOTHY ALLEN TALMAGE            TIMOTHY D RAMEY                  TIMOTHY DEARMAN IRA TD
713 WILLIAM RD                   532 COLLEGE ST.                  AMERITRADE
AZLE, TX 76020                   ROCKDALE, TX 76567               CLEARING CUSTODIAN
                                                                  101 DEARMAN RD
                                                                  BRANDON, MS 39042
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TIMOTHY K STAPLETON              TODD J MICK ROLLOVER IRA         TODD S BUSSEN &
JANIE M STAPLETON                TD AMERITRADE CLEARING           BRIGITTE E BUSSEN JTWROS
4349 PRIVATE POINT DR            CUSTODIAN                        6271 N FORTVILLE PIKE
PENSACOLA, FL 32503              312 E 11TH AVE                   GREENFIELD, IN 46140
                                 NAPERVILLE, IL 60563

TOMMY P GILLIGAN                 TRAPPER W TINKER                 TREVER JOHN HOLICK &
62 GROVE ST                      57 ACORN RIDGE RD                PAMELA CHRISTINE HOLICK JT TEN
GLENWOOD LANDING, NY 11547       FREEPORT, ME 04032               4 CORNWALL DR
                                                                  NEW MILFORD, CT 06776


TURNER J VONALMAN                USAA FEDERAL SAVINGS BANK        USAA FEDERAL SAVINGS BANK
4000 SIGMA ROAD                  TRADITIONAL IRA FBO DONALD M     FBO KEVIN D ROBINSON
APT 4403                         KENNEDY                          PO BOX 5115
DALLAS, TX 75244                 136 TIGER LILLY DR               LACEY, WA 98509
                                 PARRISH, FL 34219

VUONG TRAN                       WARREN O RUSICH JR               WENDY K MITCHELL
2001 MARY HELEN LN               204 OAK ALLEY DR                 1400 MT PLEASANT CHURCH RD
SAN JOSE, CA 95136               HOUMA, LA 70360                  MANSON, NC 27553



WILLIAM BRUNGER                  WILLIAM G APPLEGATE IRA          WILLIAM H JONES III
4 BAYVIEW PLACE                  TD AMERITRADE CLEARING INC       222 KAREN AVE APT 902
MADISON, CT 06443                CUSTODIAN                        LAS VEGAS, NV 89109
                                 6301 HEARDS MOUNTAIN RD
                                 COVESVILLE, VA 22931

WILLIAM I THURMAN IRA            WILLIAM J LITWIN TTEE            WILLIAM M AISENBERG
RAYMOND JAMES & ASSOC INC        WILLIAM J LITWIN TRUST U/A       FELICE S AISENBERG
CSDN                             07/25/01                         PO BOX 112267
3846 S SALMI RD                  PO BOX 146                       CARROLLTON, TX 75011
HIBBING, MN 55746                HINGHAM, MA 02043

WILLIAM P NIEDERST CUST          YI CHEN                          YI CHEN ROTH IRA
COLTON W NIEDERST UTMA OH        3281 BRAEWOOD DR                 TD AMERITRADE CLEARING INC
6022 MAPLEWOOD RD                CINCINNATI, OH 45241             CUSTODIAN
MENTOR ON LK, OH 44060                                            3281 BRAEWOOD DR
                                                                  CINCINNATI, OH 45241

ZACH HIGGINS
7344 DRY CREEK RD
LONGMONT, CO 80503
